Case 22-10066-CTG   Doc 164-1   Filed 04/28/22   Page 1 of 79




                       EXHIBIT A
 Case
 Case22-10066-CTG
      22-10066-CTG Doc
                     Doc164-1
                         38-2 Filed
                               Filed01/26/22
                                    04/28/22 Page
                                             Page22of
                                                    of79
                                                      79
USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 1 of 78



                      No. 21-13662


In the United States Court of Appeals
       for the Eleventh Circuit

  GPDEV, LLC and SIMONS EXPLORATION, INC.,
                                             Plaintiffs-Appellees,

                             v.

      TEAM SYSTEMS INTERNATIONAL, LLC,
                                            Defendant-Appellant.


       On Appeal from the United States District Court
            for the Northern District of Florida
            Case No. 4:18-cv-00442-RH-MAF


                APPELLANT’S BRIEF



                     ROBIN I. BRESKY
                      BRESKY LAW
            150 E. Palmetto Park Road, Suite 340
                Boca Raton, FL 33432-4832
                 Telephone: (561) 994-6273
         Primary E-mail: Service@Bresky-Law.com
        Secondary E-mail: RBresky@Bresky-Law.com
              Attorney for Defendant-Appellant
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                                38-2 Filed
                                      Filed01/26/22
                                           04/28/22 Page
                                                    Page33of
                                                           of79
                                                             79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 2 of 78



                                No. 21-13662
            GPDEV, LLC, et al. v. Team Systems International, LLC

              CERTIFICATE OF INTERESTED PERSONS
             AND CORPORATE DISCLOSURE STATEMENT

      Pursuant to FRAP 26.1 and 11th Cir. Rule 26.1-2, Defendant-Appellant

Team Systems International, LLC (“TSI”) states that the following persons and

entities may have an interest in the outcome of this appeal:

    1. Acosta, Steve (member of the Defendant-Appellant, TSI)

    2. Bresky, Robin I., Esq. (lead appellate attorney for Appellant TSI)

    3. Collins, Leonard M., Esq. (counsel for Plaintiffs-Appellees)

    4. Fitzpatrick, Honorable Martin A. (U.S. Magistrate Judge)

    5. GPDEV, LLC (a Plaintiff-Appellee; a California LLC with its principal

place of business in Irvine, California).

    6. Hinkle, Honorable Robert L. (U.S. District Judge)

    7. Kozlowski, Steven, Esq. (trial counsel for Defendant-Appellant TSI)

    8. Leshin, Randall L., Esq. (trial counsel for Defendant-Appellant TSI)

    9. Maciorowski, John (member of Defendant-Appellant TSI)

   10. Mott, Christopher (member of Defendant-Appellant TSI)

   11. Mott, Deborah Evans (member of Defendant-Appellant TSI)

   12. Peterson, George (citizen of California; sole member of

Plaintiff-Appellee GPDEV, LLC)


                                        C-1
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                                38-2 Filed
                                      Filed01/26/22
                                           04/28/22 Page
                                                    Page44of
                                                           of79
                                                             79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 3 of 78



                                 No. 21-13662
             GPDEV, LLC, et al. v. Team Systems International, LLC

   13. Simons, Jordan (managing director of Appellee, Simons Exploration,

Inc., d/b/a Archangel International).

   14. Simons Exploration, Inc., d/b/a Archangel International (a Plaintiff-

Appellee; a Colorado corporation with its principal place of business in Denver,

Colorado).

   15. Smith, Wayne LaRue, Esq. (trial counsel for Defendant-Appellant TSI)

   16. Team Systems International, LLC (“TSI”) (the Defendant-Appellant; a

Delaware LLC with its principal place of business in Ponte Vedra Beach, Florida).

   17. Turner, M. Stephen, Esq. (counsel for Plaintiffs-Appellees)


                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to FRAP 26.1 and Eleventh Circuit Rules 26.1-1 through 26.1-3,

the Appellant, TSI, certifies that to the best of its knowledge, no publicly traded

company or corporation has an interest in the outcome of the case; the entities

listed above are not publicly traded and do not have stock ticker symbols.




                                        C-2
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                 38-2 Filed
                                       Filed01/26/22
                                            04/28/22 Page
                                                     Page55of
                                                            of79
                                                              79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 4 of 78



              STATEMENT REGARDING ORAL ARGUMENT

      Appellant requests oral argument as it would provide an opportunity to

clarify the issues and answer questions that the Court may have regarding the

arguments, thus aiding the decisional process. As oral argument would facilitate

the provision of any needed clarification of the record facts or applicable judicial

precedents in this matter, oral argument could assist the Court in analyzing the law,

resolving the issues, and reaching a decision.




                                          i
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                 38-2 Filed
                                       Filed01/26/22
                                            04/28/22 Page
                                                     Page66of
                                                            of79
                                                              79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 5 of 78



          STATEMENT REGARDING RECORD REFERENCES

      Pursuant to 11th Cir. R. 28-5, references to the record are to the document

number and page number. Citations to “(ECF [page number])” refer to entries on

the civil docket for case number 4:18-cv-00442-RH-MAF in the United States

District Court for the Northern District of Florida. The cited record documents are

included as attachments to (or an appendix to) this Motion.

      Although the transcript documents with the actual official clerk’s header are

not yet viewable by counsel within the district court’s ECF system, references to

ECF 309 (Volume I of the official trial transcript), ECF 308 (Volume II), and ECF

307 (Volume III), include citations to page numbers that are believed to match the

page numbers in the header generated by the district court’s electronic filing

system. These citations generally also include a reference to “Trial Tr.” with page

numbers assigned by the court reporter.




                                          ii
           Case
           Case22-10066-CTG
                22-10066-CTG Doc
                               Doc164-1
                                   38-2 Filed
                                         Filed01/26/22
                                              04/28/22 Page
                                                       Page77of
                                                              of79
                                                                79
          USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 6 of 78



                                      TABLE OF CONTENTS
                                                                                                           Pages

CERTIFICATE OF INTERESTED PERSONS ........................................... C-1, C-2

STATEMENT REGARDING ORAL ARGUMENT................................................ i

STATEMENT REGARDING RECORD REFERENCES....................................... ii

TABLE OF CITATIONS......................................................................................... vi

STATEMENT OF SUBJECT-MATTER AND APPELLATE JURISDICTION.. xii

STATEMENT OF THE ISSUES...............................................................................1

STATEMENT OF THE CASE..................................................................................2

    I. Course of Proceedings and Dispositions in the District Court........................2

   II. Statement of the Facts......................................................................................4

  III. Statement of the Standard or Scope of Review for Each Contention. ..........10

SUMMARY OF THE ARGUMENT ......................................................................11

ARGUMENT AND CITATIONS OF AUTHORITY.............................................13

    I. THE COURT ERRED IN DENYING TSI’S MOTIONS TO DISMISS FOR
        LACK OF SUBJECT-MATTER JURISDICTION DUE TO LACK OF
        COMPLETE DIVERSITY. .................................................................................13

   II. THE COURT ERRED IN DENYING TSI’S MOTION TO AMEND ITS
        AFFIRMATIVE DEFENSES TO INCLUDE THE DEFENSE OF ILLEGAL
        CONTRACT; AND THIS ERROR LED TO AN AWARD OF COMMISSIONS
        THAT SHOULD BE DEEMED ILLEGAL UNDER FEDERAL LAW......................17

  III. THE CONSULTING AGREEMENT WAS NOT MODIFIED ORALLY OR BY
       CONDUCT TO INCLUDE NESTLÉ WATER. .....................................................21



                                                       iii
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                                38-2 Filed
                                      Filed01/26/22
                                           04/28/22 Page
                                                    Page88of
                                                           of79
                                                             79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 7 of 78



     A. Plaintiffs failed to plead and prove the stringent elements for an
        exception for oral or implied modification where the contract
        expressly requires a writing signed by all parties. ..................................21

     B. Conduct cannot vary the express terms of a written contract, nor can
        it change any terms of an unambiguous contract. ...................................25

     C. The Parties’ communications after the alleged “modification” belied
        any claim of modification........................................................................27

     D. The Judgment and verdict further err in finding a commission due to
        GPDEV, LLC on Nestlé water, when Peterson was not involved in
        procuring Nestlé water. ...........................................................................28

IV. THE CONSULTING AGREEMENT DID NOT PROVIDE FOR A
    COMMISSION ON INCOME FROM FEMA’S SUBSEQUENT RENTAL OF
    DROP CONTAINERS IN PUERTO RICO...........................................................29

     A. The court erred in allowing parole evidence as to the meaning of the
        Agreement and whether it encompasses drop containers. ......................29

     B. The Parties could not have contemplated rental of drop containers
        and they had no meeting of the minds as to a commission for such
        separate procurement...............................................................................33

     C. The mention of a rate for potential drop trailers in FEMA’s Statement of
        Work or RFP does not support the notion that the Consulting Agreement
        encompassed rental of drop containers. ..................................................34

     D. The term “Cost of Goods Sold” in the Net Income formula did not allow
        commissions on anything besides bottled water. ....................................36

     E. TSI did not certify that all payments requested from FEMA were
        contemplated by the Consulting Agreement. ..........................................37

     F. Plaintiffs’ quest for a commission on drop containers is an improper
        attempt to rewrite the final, limited Consulting Agreement back to
        Plaintiffs’ initial expansive draft. ............................................................38



                                                  iv
            Case
            Case22-10066-CTG
                 22-10066-CTG Doc
                                Doc164-1
                                    38-2 Filed
                                          Filed01/26/22
                                               04/28/22 Page
                                                        Page99of
                                                               of79
                                                                 79
           USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 8 of 78



   V. IF, ARGUENDO, ANY COMMISSIONS WERE DUE, THE AMOUNTS IN THE
        JUDGMENT  ARE ERRONEOUS, FOLLOWING PLAINTIFFS’ EXPERT’S
        MISTAKEN SUMMARY WHICH MISCALCULATED NET INCOME...................40

  VI. THE DISTRICT COURT ERRED IN ASSESSING $991,498.78 OF
      PREJUDGMENT INTEREST. ............................................................................44

        A. Only post-judgment interest should apply as no debt was owed until
           entry of a declaratory judgment...............................................................44

        B. Even if this were treated as a contract action, prejudgment interest cannot
           be awarded because the date of loss could not be indisputably
           determined for a ministerial computation. ..............................................45

 VII. THE DISTRICT COURT ERRED IN DENYING TSI’S MOTION TO
      RECUSE DUE TO BIAS OR PARTIALITY. ............................................................48

        A. Legal Principles and Standard of Review ...............................................48

        B. TSI’s affidavit and motion demonstrated bias requiring recusal. ...........50

CONCLUSION........................................................................................................53

CERTIFICATE OF COMPLIANCE.......................................................................54

CERTIFICATE OF SERVICE ................................................................................55

ADDENDUM OF STATUTES AND REGULATIONS ........................................57

   28 U.S.C. § 144 ..................................................................................................57

   28 U.S.C. § 455 ............................................................................................ 57-59

   41 U.S.C. § 3901 .................................................................................................60

   Fed. Acquisition Reg. 4.1001..............................................................................61

   Fed. Acquisition Reg. 4.1003..............................................................................61

   Fed. Acquisition Reg. 52.203-5 ..........................................................................62

                                                         v
         Case
          Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page10
                                                           10of
                                                              of79
                                                                 79
         USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 9 of 78



                                      TABLE OF CITATIONS

Federal Cases                                                                                       Page(s)

*611, LLC v. U.S. Lubes, LLC,

  2006 U.S. Dist. LEXIS 52727 (D. Md. July 18, 2006)...................... 14, 15, 16

*American Mutual Liability Insurance Co. v. Flintkote Co.,

  565 F. Supp. 843 (S.D.N.Y. 1983) .......................................................... 15, 16

Bell v. Chandler,

  569 F.2d 556 (10th Cir. 1978) ....................................................................... 48

*Czeremcha v. International Ass’n of Machinists & Aerospace Workers,

  724 F.2d 1552 (11th Cir. 1984) ..................................................................... 20

*Dutcher v. Matheson,

  840 F.3d 1183 (10th Cir. 2016) ..................................................................... 14

*Energy Smart Industry, LLC v. Morning Views Hotels-Beverly Hills, LLC,

  660 F. App’x 859 (11th Cir. 2016) ............................................................... 23

Fidelity & Deposit Co. of Maryland v. Tom Murphy Construction Co.,

  674 F.2d 880 (11th Cir. 1982) ....................................................................... 22

*Green v. Murphy,

  259 F.2d 591 (3d Cir. 1958) .................................................................... 49, 51

*Grupo Dataflux v. Atlas Global Group, L.P.,

  541 U.S. 567 (2004) ...................................................................................... 16


                                                      vi
          Case
          Case22-10066-CTG
               22-10066-CTG Doc
                              Doc164-1
                                 38-2 Filed
                                        Filed01/26/22
                                              04/28/22 Page
                                                       Page11
                                                            11of
                                                               of79
                                                                  79
         USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 10 of 78



*Harris v. Garner,

   216 F.3d 970 (11th Cir. 2000) ....................................................................... 20

Herrick Co. v. SCS Communications, Inc.,

   251 F.3d 315 (2d Cir. 2001) .......................................................................... 13

IBM Poughkeepsie Employees Fed. Credit Union v. Cumis Ins. Soc’y, Inc.,

   590 F. Supp. 769 (S.D.N.Y. 1984) ................................................................ 31

In re Moody,

   755 F.3d 891 (11th Cir. 2014) ....................................................................... 48

In re Union Leader Corp.,

   292 F.2d 381 (1st Cir. 1961) ......................................................................... 53

*Jablonski v. St. Paul Fire & Marine Insurance Co.,

   645 F. Supp. 2d 1101 (M.D. Fla. 2009) ........................................................ 47

McWhorter v. City of Birmingham,

   906 F.2d 674 (11th Cir. 1990) ....................................................................... 49

Offutt v. United States,

   348 U.S. 11 (1954) ........................................................................................ 53

*Quinn v. Gulf & W. Corp.,

   644 F.2d 89 (2d Cir. 1981) ...................................................................... 18-19

*Smith v. GTE Corp.,

   236 F.3d 1292 (11th Cir. 2001) ..................................................................... 16


                                                       vii
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page12
                                                           12of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 11 of 78



United States v. Partin,

  312 F. Supp. 1355 (E.D. La. 1970) ............................................................... 49

Webbe v. McGhie Land Title Co.,

  549 F.2d 1358 (10th Cir. 1977) ..................................................................... 53

State Cases

*Acceleration National Serv. Corp. v. Brickell Fin. Servs. Motor Club, Inc.,

  541 So. 2d 738 (Fla. 3d DCA 1989) ....................................................... 30, 31

*Advanzeon Solutions, Inc. v. State ex rel. Florida Dep’t of Financial Services,

  321 So. 3d 911 (Fla. 1st DCA 2021) ............................................................. 35

*Argonaut Insurance Co. v. May Plumbing Co.,

  474 So. 2d 212 (Fla. 1985) ...................................................................... 45, 46

Arizona Chemical Co., LLC v. Mohawk Industries,

  197 So. 3d 99 (Fla. 1st DCA 2016) ............................................................... 46

Avatar Development Corp. v. De Pani Construction,

  834 So. 2d 873 (Fla. 4th DCA 2002) ............................................................ 31

Barakat v. Broward County Housing Authority,

  771 So. 2d 1193 (Fla. 4th DCA 2000) .......................................................... 39

Broward County v. LaPointe,

  685 So. 2d 889 (Fla. 4th DCA 1996) ............................................................ 31




                                                  viii
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page13
                                                           13of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 12 of 78



*Central Properties, Inc. v. Robbinson,

  450 So. 2d 277 (Fla. 1st DCA 1984) ............................................................. 33

*Citizens Property Insurance Corp. v. Alvarez,

  198 So. 3d 45 (Fla. 2d DCA 2015) ............................................................... 47

City of Clearwater v. BayEsplanade.com, Ltd. Liability Co.,

  251 So. 3d 249 (Fla. 2d DCA 2018) ............................................................. 31

*Cox v. CSX Intermodal, Inc.,

  732 So. 2d 1092 (Fla. 1st DCA 1999) ........................................................... 26

*Emergency Associates, P.A. v. Sassano,

  664 So. 2d 1000 (Fla. 2d DCA 1995) ........................................................... 32

*Flagship National Bank v. Gray Distribution Systems, Inc.,

  485 So. 2d 1336 (Fla. 3d DCA) .................................................................... 26

Florida Hurricane Protection & Awning, Inc. v. Pastina,

  43 So. 3d 893 (Fla. 4th DCA 2010) .............................................................. 32

*Indian Harbor Citrus, Inc. v. Poppell,

  658 So. 2d 605 (Fla. 4th DCA 1995) ...................................................... 25-26

Japanese Gardens Mobile Estates, Inc. v. Hunt,

  261 So. 2d 193 (Fla. 2d DCA 1972) ....................................................... 31-32

*Jenkins v. Eckerd Corp.,

  913 So. 2d 43 (Fla. 1st DCA 2005) ............................................................... 32


                                                  ix
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page14
                                                           14of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 13 of 78



Lance v. Wade,

  457 So. 2d 1008 (Fla. 1984) .......................................................................... 24

MacKenzie v. Super Kids Bargain Store, Inc.,

  565 So. 2d 1332 (Fla. 1990) .......................................................................... 51

*Okeechobee Resorts, L.L.C. v. E Z Cash Pawn, Inc.,

  145 So. 3d 989 (Fla. 4th DCA 2014) .................................... 21, 23-24, 24, 25

*Paoli v. Natherson,

  732 So. 2d 486 (Fla. 2d DCA 1999) ....................................................... 44, 45

Prewitt Management Corp. v. Nikolits,

  795 So. 2d 1001 (Fla. 4th DCA 2001) .......................................................... 31

Professional Insurance Corp. v. Cahill,

  90 So. 2d 916 (Fla. 1956) .............................................................................. 22

Robbie v. Miami,

  469 So. 2d 1384 (Fla. 1985) .......................................................................... 30

Rowe-Linn v. Berman,

  601 So. 2d 618 (Fla. 4th DCA 1992) ............................................................ 51

South Florida Beverage Corp. v. Figueredo,

  409 So. 2d 490 (Fla. 3d DCA 1981) ............................................................. 36

*Sugar Cane Growers Cooperative of Florida, Inc. v. Pinnock,

  735 So. 2d 530 (Fla. 4th DCA 1999) ............................................................ 36


                                                     x
            Case
            Case22-10066-CTG
                 22-10066-CTG Doc
                                Doc164-1
                                   38-2 Filed
                                          Filed01/26/22
                                                04/28/22 Page
                                                         Page15
                                                              15of
                                                                 of79
                                                                    79
           USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 14 of 78



Thompson v. Watts,

    111 So. 3d 986 (Fla. 1st DCA 2013) ............................................................. 30

Statutes

28 U.S.C. § 144 ............................................................................... 12, 48, 49, 50

28 U.S.C. § 455 .................................................................................................. 50

28 U.S.C. § 455(a) ................................................................................. 12, 48, 49

28 U.S.C. § 455(b)(1) ........................................................................................ 49

28 U.S.C. § 1291 .............................................................................................. xiii

28 U.S.C. § 1332(a) ......................................................................................... xiii

41 U.S.C. § 3901(b)(1) ................................................................................ 17, 19

41 U.S.C. § 3901(b)(2) ...................................................................................... 19

Regulations

32 C.F.R. § 117.3(b) ............................................................................................13

Fed. Acquisition Reg. 4.1001 ..........................................................................5, 38

Fed. Acquisition Reg. 4.1003 ..............................................................................38

Fed. Acquisition Reg. 52.203-5 ...............................................................17, 18, 19

Rules of Procedure

Fed. R. Civ. P. 15(a)(2) ...................................................................................... 20

Fed. R. Civ. P. 15(b)(2) ...................................................................................... 19




                                                          xi
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page16
                                                           16of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 15 of 78



                    STATEMENT OF SUBJECT-MATTER
                     AND APPELLATE JURISDICTION

      This case involves a contract under the laws of the State of Florida. Plaintiffs

alleged that the federal district court for the Northern District of Florida

purportedly had subject matter jurisdiction due to alleged diversity of citizenship

pursuant to 28 U.S.C. § 1332(a). However, TSI challenged diversity jurisdiction

because there is a citizen of California on both sides. (See ECF 21, 47, 61, 277.) TSI

maintains in this appeal that the district court erred in failing to dismiss for lack of

jurisdiction.

      The United States Court of Appeals for the Eleventh Circuit has jurisdiction

over this appeal pursuant to 28 U.S.C. § 1291 from a final order and Judgment.

Judgment was rendered on September 28, 2021 (ECF 306) upon a final order of the

same date (ECF 305) following a jury trial (see ECF 294). TSI then timely filed its

Notice of Appeal on October 18, 2021 (ECF 311).




                                          xii
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page17
                                                          17of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 16 of 78



                        STATEMENT OF THE ISSUES

     I. The district court erred in failing to dismiss the case for lack of subject

matter jurisdiction as there was not complete diversity of citizenship.

    II. The court abused its discretion by declining to allow amendment of TSI’s

Affirmative Defenses to include a defense of Illegal Contract, ultimately leading to

Plaintiffs receiving an award of commissions that should be deemed contrary to the

federal law which prohibits a commission for securing a federal contract.

   III. The court erred in finding that the Consulting Agreement was modified by

conduct to include Nestlé water and in awarding commissions on Nestlé water.

   IV. The court erred in finding that the Consulting Agreement applied to net

income from retention of drop containers in Puerto Rico.

    V. Even if arguendo any commissions were due and unpaid, the amounts in

the Judgment are erroneous, based on Plaintiffs’ expert’s summary which

erroneously excluded certain expenses and wrongly included commissions on drop

containers.

   VI. The court erred by imposing or miscalculating prejudgment interest.

  VII. The district court erred in denying TSI’s motion for recusal.




                                         1
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page18
                                                          18of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 17 of 78



                         STATEMENT OF THE CASE

             I. STATEMENT OF THE COURSE OF PROCEEDINGS
                  AND DISPOSITION IN THE COURT BELOW

      Plaintiffs-Appellees sought a declaratory judgment and equitable accounting

as to their rights, under Florida law, to a commission under a Consulting

Agreement where they were to procure a supply of bottled water from Niagara

Bottling, LLC, for TSI to sell to the government. (ECF 1-3.) TSI ultimately sold the

water to FEMA for Hurricane Maria relief in 2017.

      The litigation primarily concerned: (1) whether the Consulting Agreement

was modified orally or by conduct to also encompass Nestlé water; (2) whether the

Agreement contemplated a commission on FEMA’s subsequent procurement for

rental of shipping containers (“drop containers”) after TSI’s delivery of the water

to Puerto Rico; and (3) whether there was complete diversity of citizenship to

support federal subject matter jurisdiction.

                              Course of Proceedings

      Complaint.-- On September 21, 2018, Plaintiffs filed the Complaint (ECF 1)

seeking a declaration of rights under Florida law as to the Consulting Agreement.

(ECF 1-3.)

      Answer & Affirmative Defenses.-- On May 24, 2019, TSI filed its Answer

and Affirmative Defenses. (ECF 67.)



                                          2
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page19
                                                          19of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 18 of 78



      First MSJ.-- On November 27, 2019, TSI moved for summary judgment.

(ECF 89.) The court concluded that “TSI is not entitled to summary judgment on

the plaintiffs’ claim that the original contract was modified to extend beyond

Niagara water” (ECF 103 at 4) nor “on the plaintiffs’ claim based on revenue

derived from [drop containers in] … Puerto Rico.” (ECF 103 at 5.)

      Second MSJ.-- On October 1, 2020, the court directed the Parties to submit

motions for summary judgment on the issue of drop containers, inter alia. (ECF

201 at 1-2.) TSI’s motion showed that the Consulting Agreement did not

encompass FEMA’s subsequent rental of shipping containers. (ECF 209, 215.)

      Order Denying Second MSJ.-- On February 22, 2021, the court denied

summary judgment, concluding inter alia that the Consulting Agreement is

ambiguous and parol evidence is admissible as to whether it encompassed a

commission on FEMA’s subsequent rental of shipping containers. (ECF 220 at 6.)

                             Trial and Jury Verdict

      After a trial on August 23-25, 2021, the jury returned a verdict with four

findings relevant to this appeal: (1) the Consulting Agreement was modified by

conduct to encompass Nestlé water; (2) the Agreement applied to net income from

FEMA’s retention of “drop containers” in Puerto Rico; (3) the amount due to

GPDEV, LLC is $2,770,855.00; and (4) the amount due to Simons Exploration,

Inc. is $2,483,722.00. (ECF 294.)


                                       3
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page20
                                                          20of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 19 of 78



                        Disposition in the District Court

      On September 28, 2021, the district court entered an order directing entry of

judgment on the verdict and making rulings on equitable and declaratory matters.

(ECF 305.) The same day, the clerk entered the Judgment. (ECF 306.) It awarded

GPDEV, LLC $2,770,855 plus $527,140.32 of prejudgment interest, and awarded

Simons Exploration, Inc., $2,483,722 plus $464,358.46 of prejudgment interest,

together with post-judgment interest. (ECF 306.)

                            II. STATEMENT OF FACTS

      The Parties.-- Defendant-Appellant Team Systems International, LLC

(“TSI”), is a minority- and woman-owned small business serving the federal

government as a contractor. (ECF 277 at 2.)

      Plaintiff-Appellee GPDEV, LLC is a California company whose principal

member is George Peterson (“Peterson”). (ECF 1 at 1.)

      Plaintiff-Appellee Simons Explorations, Inc. is a Colorado corporation

doing business as Archangel International (“AI”). Its principal director is Jordan

Simons (“Simons”). (ECF 1 at 1.)

      Subject Matter.-- This case involves a written Consulting Agreement where

Defendant-Appellant TSI agreed to pay Plaintiffs-Appellees a commission of 25%

of the Net Income realized from TSI’s sales of “a supply of bottled water supplied

by Niagara Bottling, LLC,” which TSI had “procured” purportedly “with the

                                        4
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page21
                                                           21of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 20 of 78



assistance of [Plaintiffs].” (ECF 1-3 at 1.)

      FEMA’s RFP.-- On June 9, 2017, a government agency, FEMA, issued a

request for proposals (“RFP”) seeking bidders for an indefinite delivery, indefinite

quantity (“ID/IQ”) Multiple Award Task Order Contract (“MATOC”) to procure

bottled water for disasters. (ECF 89-4.) A MATOC is issued to multiple vendors to

give FEMA the ability to quickly respond to emergencies by having multiple

vendors ready to bid on time-sensitive contracts. (ECF 209 at 2.)

      The RFP included a line item for the bottled water (CLIN 0002) and a

potential line item for transportation (CLIN 0003) that could include drop trailers

(semi-trailers detached from trucks for unloading at delivery locations). (ECF 89-4

at 3-7.) Pursuant to Federal Acquisition Regulation (“FAR”) 4.1001 and 4.1001(a),

each Contract Line Item Number (“CLIN”) defined a separate “deliverable.” (See

ECF 182-1 at 2.) The RFP required respondents to demonstrate an ability to

procure up to 2,700,000 liters of bottled water within 72 hours of FEMA approval.

(ECF 89-4 at 54.)

      TSI’s Proposal.-- When TSI decided to submit a proposal to FEMA, Chris

Mott of TSI contacted his friend Simons to discuss the RFP. Simons had said he

had connections in the bottled water industry. Simons asked Peterson for assistance

with securing a supply of bottled water. Peterson introduced TSI to Niagara

Bottling, LLC. (ECF 209 at 5; ECF 89-3 at 8-9.) Niagara provided pricing and


                                          5
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page22
                                                          22of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 21 of 78



indicated that it could provide sufficient water. (ECF 89-8, 89-9, 89-10, 89-11;

89-8 at 2.) On July 6, 2017, TSI submitted a proposal to FEMA, listing TSI,

Niagara, Navajo Express (trucking), and Bering Straits Logistics as the “Contractor

Team.” Plaintiffs were not part of the team. (ECF 89-12 at 2.)

      Discussions About an Agreement.-- After TSI responded to the RFP, but

before FEMA awarded a MATOC, TSI and Plaintiffs began discussing a written

agreement to reward Plaintiffs for securing a supply of bottled water from Niagara

Bottling, LLC. Peterson, with input from Simons, drafted a proposed “Commission

Agreement” which would have provided for “a commission for assistance in

procuring the [FEMA] contract(s).” (ECF 89-15 at 4.)

      Formalization of the Consulting Agreement.-- TSI sent Plaintiffs revisions

to the proposed agreement and renamed it the Consulting Agreement. (See ECF

89-17 at 2-3; ECF 299-1.) TSI rejected substantial portions of Plaintiffs’ draft,

including the language contemplating a commission “for assistance in procuring

the [FEMA] contract(s).” (See ECF 299-1.) TSI also included a formula for

calculating the Net Income and commissions on TSI’s sales of the Niagara “bottled

water.” (See ECF 1-3 at 1; ECF 299-1.) Plaintiffs accepted TSI’s revisions and

confirmed that the Consulting Agreement accurately reflected their agreement.

(ECF 89-17 at 2; ECF 89-2 at 12.) On August 16, 2017, Plaintiffs and TSI signed

the Consulting Agreement. (ECF 1-3 at 3.)


                                        6
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page23
                                                           23of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 22 of 78



      Terms of the Agreement.-- The Consulting Agreement provided for a 25%

commission on Net Income from TSI’s sales of a supply of “bottled water”

purportedly procured by Plaintiffs from Niagara Bottling, LLC. (ECF 1-3 at 1.) The

Agreement did not require Plaintiffs to do anything but utilize their claimed

relationship with Niagara to secure a supply of “bottled water” for TSI. (ECF 1-3

at 1.) It did not create a joint venture or business partnership. (See ECF 89-19 at 2,

where Simons wished it had been a joint venture.)

      The Consulting Agreement, by terms drafted by Plaintiffs, constituted the

entire agreement between the Plaintiffs and TSI and declared that any other

understanding or alleged modification would be void if not in a writing signed by

all parties. (ECF 1-3 at 2 ¶¶ 3-4.)

      The MATOC.-- On September 5, 2017, FEMA awarded TSI a five-year

MATOC, thus prequalifying TSI to bid for task orders related to time-sensitive

emergencies. (ECF 209 at 8.)

      First Task Order.-- On September 28, 2017, FEMA issued a task order to TSI

for delivery of 80 million liters of bottled water to Puerto Rico under Contract Line

Item Number (“CLIN”) 0002AA, but Plaintiffs could not obtain water directly

from Niagara to timely fulfill the requirements. (ECF 209 at 10-11.)

      TSI then worked with Bering Straits to obtain Niagara water for TSI at a cost

of $0.42 per liter (which was higher than the $0.165 quoted directly by Niagara


                                          7
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page24
                                                           24of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 23 of 78



because Bering Straits’ price included a profit markup and transportation to the

staging area in Jacksonville or Savannah). (ECF 209 at 12.)

      Bering Straits Also Obtains Nestlé Water.-- Niagara was able to supply only

6,589,147 liters of water. As Niagara could not supply the required 80 million

liters, TSI obtained approval from FEMA to additionally use some other brand.

Around September 6, 2017, Simons voluntarily began cold-calling other water

suppliers. (See ECF 293-4 at 16 [ECF 96-4 at 1].) On September 10, 2017, Simons

asked if TSI needed help with anything, and TSI replied that Simons could help by

“[g]etting more water suppliers[.] The more the better.” (ECF 293-4 at 29). The text

message did not mention Nestlé water or state that the Consulting Agreement

would be modified. TSI averred in its sworn interrogatories that were admitted into

evidence at trial:

      Non-party Jordan Simons, individually, and Defendant, separate and
      apart from the Consulting Agreement, agreed that if TSI was able to
      secure water from Nestle with Mr. Simons’ assistance, TSI would pay
      Mr. Simons a total success fee of 12.5% of the net income TSI actually
      received….

(ECF 295-3 at 23.) Pursuant to that side agreement, Simons identified Nestlé water

available for acquisition by Bering Straits. (ECF 209 at 12.)

      However, the available supply of Niagara and Nestlé water combined was

only 12,479,040 liters. (ECF 209 at 12.)

      FEMA Makes a Separate Procurement for Containers.-- TSI delivered the


                                           8
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page25
                                                          25of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 24 of 78



12,479,040 liters of bottled water to Puerto Rico in 695 shipping containers by

November 6, 2017; then, effective November 7, FEMA issued Amendment P00001

which reduced the face value of CLIN 0002AA by approximately 80% to reflect

the available 12,479,040 liters, and also added a separate contract line item (“CLIN

0016”) for FEMA to rent the shipping containers (“drop containers”) at a rate equal

to the “drop trailer rate” previously set forth in the RFP. (ECF 293-5 at 6.) FEMA

ended up retaining the drop containers for about six months (ECF 209 at 13) and

paid TSI $19,240,725.00 for the rental. (See Exh. D-4 to ECF 123.)

      Payment to Plaintiffs.-- After FEMA paid $18,338,823 gross for water and

delivery under CLIN 0002AA (ECF 244-1 at 8), TSI paid Plaintiffs $711,237.39 as

25% of net income on Niagara water as agreed in the Consulting Agreement. (ECF

209 at 11.) TSI also paid Simons 12.5% of net income on Nestlé water pursuant to

the side agreement. (ECF 293-5 at 19; ECF 295-3 at 23.)

      Plaintiffs’ Complaint.-- On September 21, 2018, Plaintiffs filed a Complaint

for a declaration and equitable accounting under Florida law, claiming that TSI had

not paid all commissions due. (ECF 1.)

      Result.-- The district court found for Plaintiffs. (ECF 294, 305, 306.) On

October 18, 2021, TSI timely filed a Notice of Appeal. (ECF 311.)




                                         9
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page26
                                                          26of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 25 of 78



      III. STATEMENT OF THE STANDARD OR SCOPE OF REVIEW

     I. The district court erred in applying a rule of law as to diversity jurisdiction.

    II. The district court abused its discretion in declining to allow amendment of

TSI’s Affirmative Defenses, thus ultimately allowing the jury to award

commissions that should be deemed illegal under federal procurement law.

   III. The district court erred in applying a rule of law as to whether the

Consulting Agreement was modified by conduct to include Nestlé water; and there

was insufficient evidence to support the jury’s finding of modification.

   IV. The district court erred in formulating or applying a rule of law as to

whether the Consulting Agreement applied to net income from retention of drop

containers in Puerto Rico; and there was insufficient evidence to support the

verdict finding that the Agreement so applied.

    V. There is insufficient evidence to support the verdict as to the amounts of

commissions awarded in the Judgment, which also erred in applying a rule of law

by allowing commissions that should be deemed unlawful.

   VI. The court erred in applying a rule of law in imposing prejudgment interest.

  VII. The district court erred in applying a rule of law and/or abused its discretion

in denying TSI’s motion for recusal.




                                          10
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page27
                                                          27of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 26 of 78



                      SUMMARY OF THE ARGUMENT

      I. The suit should have been dismissed for lack of subject matter jurisdiction

because Plaintiffs failed to carry their burden to prove complete diversity of

citizenship. There are citizens of California on both sides. (See ECF 21, 47, 61,

277.) The district court focused on an inapposite technicality regarding an LLC

membership resolution, but acknowledged the “significant possibility” that it did

not have jurisdiction. (ECF 57 at 18:12-14.)

      II. TSI should have been allowed to amend its Affirmative Defenses to

include a defense of Illegal Contract because it became clear during trial that

Plaintiffs interpret the Agreement in a way that makes it illegal and unenforceable

under federal law by claiming a commission for merely helping TSI secure a

FEMA contract. The denial of leave to amend ultimately allowed the jury to return

a verdict for commissions that Plaintiffs had no right to receive under the law.

      III. Commissions under the Consulting Agreement are expressly limited to

TSI’s sales of Niagara-brand bottled water. It prohibits any modification unless in

writing and signed by all parties. The court misapplied a rare legal exception to

allow an oral or implied modification in spite of that clause; and there was

insufficient evidence to support any modification.

      IV. The Consulting Agreement provides for commissions only on “bottled

water.” (ECF 1-3 at 1.) The order denying summary judgment erred in ruling that


                                        11
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page28
                                                          28of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 27 of 78



parol evidence would be allowed as to the meaning of the Consulting Agreement

and whether it provides for a commission on drop containers. (ECF 220 at 6.) There

is no ambiguity that would require parol evidence, and under the circumstances it

would have been impossible for the parties to contemplate anything besides bottled

water. The issue never should have gone to the jury. Summary judgment should

have been granted.

      V. Assuming arguendo that Plaintiffs are entitled to any amount, the

amounts in the Judgment are erroneous. They were based on a summary by

Plaintiffs’ expert (ECF 293-6 at 12-19) that erroneously excluded over $1 million

of expenses paid to Coakley Logistics for transporting the water to Puerto Rico and

over $1 million of expenses related to Bering Straits. It also reflected an unlawful

commission for doing nothing more than securing a federal contract. (ECF 289.)

      VI. The Court should reverse the award of $991,498.78 of prejudgment

interest. TSI showed that only post-judgment interest should apply or that any

pre-judgment interest should accrue from the date of the verdict. (ECF 298.)

      VII. Based on TSI’s Affidavit and Motion to Recuse (ECF 155), which must

be taken as true, the judge was required to recuse under 28 U.S.C. § 144 and 28

U.S.C. § 455(a) or (b)(1) because a reasonable person would perceive bias or

prejudice. This Court should reverse the order denying recusal (ECF 161) as well

all adverse rulings and the Judgment.


                                        12
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page29
                                                          29of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 28 of 78



             ARGUMENT AND CITATIONS OF AUTHORITY

 I.   THE COURT ERRED IN DENYING TSI’S MOTIONS TO DISMISS FOR
      LACK OF SUBJECT-MATTER JURISDICTION DUE TO LACK OF
      COMPLETE DIVERSITY.

      The lawsuit should have been dismissed for lack of subject matter

jurisdiction because Plaintiffs-Appellees failed to carry their burden to prove

complete diversity when there are citizens of California (Steve Acosta and George

Peterson) on both sides. (See ECF 6, 21, 47, 61, 277.) Plaintiffs’ failure to prove

diversity by the preponderance of the evidence “is fatal to [their] arguments that

[they] and [the defendant] are diverse.” See Herrick Co. v. SCS Communs., Inc.,

251 F.3d 315, 324 (2d Cir. 2001). Plaintiffs erroneously tried to shift the burden to

TSI by arguing technicalities under Delaware law to cast doubt on Acosta’s

membership in the LLC, such as the technicality of a resolution not having been

signed for Steve Acosta’s membership in the LLC; and the court erroneously

accepted Plaintiffs’ mistaken arguments. (See order at ECF 58.)

      But the LLC’s operating agreement did not require that a written resolution

be signed before membership could be effective; it allowed a procedure

“acceptable to the Management Committee.” (ECF 44-1 at 112.) Here, the

acceptable procedure was to make Acosta’s membership effective upon his

acceptance of the Facility Security Officer (“FSO”) position because 32 C.F.R. §

117.3(b) designates the FSO as a Key Management Personnel and he testified that


                                         13
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page30
                                                          30of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 29 of 78



NISPOM rules require that he be either an employee or member. (ECF 44-1 at

48:2-7.) He testified that he accepted membership seven months before Plaintiffs

filed suit (see ECF 61 at 5-6) and his acceptance is reflected in TSI’s records (see

ECF 21-3 at 1; ECF 44-1 at 119) per Delaware law. (See also ECF 47; 61; 277.)

      TSI’s renewed motion to dismiss (ECF 277) cited substantial case law

requiring dismissal when there is any doubt about jurisdiction. Courts must

“presume no jurisdiction exists absent an adequate showing by the party invoking

federal jurisdiction that jurisdiction exists; that showing must be made by a

preponderance of the evidence.” Dutcher v. Matheson, 840 F.3d 1183, 1189 (10th

Cir. 2016) (emphasis added; citations and internal quotes omitted).

      The district court was obligated to deem Acosta’s membership effective for

purposes of the lack of jurisdiction, as in 611, LLC v. U.S. Lubes, LLC, 2006 WL

2038615, 2006 U.S. Dist. LEXIS 52727 (D. Md. July 18, 2006), where a federal

court held that a party was a member of an LLC “for the purposes of diversity in

this litigation” in light of the ambiguities in the LLC’s operating agreement and in

light of the course of conduct where the LLC “acted in a manner consistent with”

the party’s “perceived status as a member.” And “considering the burden of

demonstrating subject matter jurisdiction,” the party opposing diversity

jurisdiction by arguing membership in an LLC “has advanced a reasonable basis

for contending that it is a member of [the LLC].” Id. at *18-*19 (emphasis added).


                                        14
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page31
                                                           31of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 30 of 78



      Likewise, TSI advanced a reasonable basis for contending that Acosta was

a member and acted in a manner consistent with his membership, such as voting to

make him a member (see ECF 44-1 at 119), appointing him to the management

committee along with the other three members (ECF 44-1 at 40:19-25), and paying

him as a member via distributions with a K-1 (see ECF 44-1 at 33:5 to 34:17;

65-70). He testified unequivocally that he is a member (ECF 44-1 at 27-28;

49:7-17; 69:17-24; 71:3-6) and that he became a member on February 15, 2018

(ECF 44-1 at 23:2-3; ECF 44-1 at 121) and would sign papers at the annual meeting

(ECF 44-1 at 65:2-16). Like the party in 611, LLC, Acosta plainly was a member

of the LLC “for the purposes of diversity in this litigation” regardless of any

inapposite technicalities. See 611, LLC 2006 U.S. Dist. LEXIS 52727 at *19.

      The district court acknowledged “that there is at least a significant possibility

that the Eleventh Circuit will say I got it wrong; there’s no federal jurisdiction.”

(ECF 57 at 18:12-14.) “It would therefore ill behoove us to retain the action if there

is the slightest doubt as to our power to entertain it, and then face the possibility of

jurisdictional dismissal by a higher court after the litigation had been fully

concluded.” American Mut. Liab. Ins. Co. v. Flintkote Co., 565 F. Supp. 843, 850

(S.D.N.Y. 1983). “[W]here the basis for jurisdiction is doubtful, the court should

resolve such doubt in favor of remand [or dismissal].” Id.

      Plaintiffs argued that it was inappropriate to raise the jurisdictional issue


                                          15
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page32
                                                           32of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 31 of 78



again in a renewed motion five weeks before trial, but “[c]hallenges to

subject-matter jurisdiction can of course be raised at any time prior to final

judgment.” Grupo Dataflux v. Atlas Glob. Grp., L.P., 541 U.S. 567, 571 (2004)

(emphasis added). The district court was at all times obligated to “zealously insure

that jurisdiction exists over a case, and should itself raise the question of subject

matter jurisdiction at any point in the litigation where a doubt about jurisdiction

arises. A federal court not only has the power but also the obligation at any time to

inquire into jurisdiction whenever the possibility that jurisdiction does not exist

arises.” Smith v. GTE Corp., 236 F.3d 1292, 1299 (11th Cir. 2001) (emphasis

added; citation and internal quotes omitted).

      As the district court had acknowledged the “significant possibility” that it

did not have jurisdiction (ECF 57 at 18:12-14), and the LLC Operating Agreement

did not require a signed, written agreement or signed resolution before membership

could be effective, and TSI voted to make Mr. Acosta a member with an oral

agreement eight months before Plaintiffs filed suit, and he testified that his

membership was consummated the next month, and that procedure was acceptable

to the management committee, the district court was obligated to dismiss. See 611,

LLC, 2006 WL 2038615 at *5; Am. Mut. Liab. Ins. Co., 565 F. Supp. at 850.

      Accordingly, this Court should reverse the Judgment and order vacatur of

the rulings of the district court because it lacked diversity jurisdiction.


                                          16
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page33
                                                           33of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 32 of 78



 II.   THE COURT ERRED IN DENYING TSI’S MOTION TO AMEND ITS
       AFFIRMATIVE DEFENSES TO INCLUDE THE DEFENSE OF ILLEGAL
       CONTRACT; AND THIS ERROR LED TO AN AWARD OF COMMISSIONS
       THAT SHOULD BE DEEMED ILLEGAL UNDER FEDERAL LAW.

       TSI should have been allowed to amend its Affirmative Defenses to include

a defense of Illegal Contract because it became clear during trial that Plaintiffs

interpreted and applied the Consulting Agreement in a way that makes it illegal and

unenforceable under federal law—by claiming a commission merely for helping

TSI secure a government contract. (ECF 289; ECF 308 at 255:10 to 257:21 [Trial

Tr. 419:10 to 421:21]; ECF 307 at 108:15 to 109:3 [Trial Tr. 538:15 to 539:3].) The

court’s denial of leave to amend was harmful because it allowed the jury to return

a verdict awarding Plaintiffs millions of dollars of commissions—primarily on

income from FEMA’s post-hoc procurement of drop containers under CLIN

0016—which Plaintiffs had no right to receive under federal law.

       A federal statute prohibits any person from “secur[ing] the contract on an

agreement or understanding for a commission, percentage, brokerage, or

contingent fee….” 41 U.S.C. § 3901(b)(1). Yet Plaintiffs’ representatives testified

they are entitled to a percentage commission on every activity under the MATOC

just for securing the MATOC by obtaining a water supplier for TSI’s application.

       Federal Acquisition Regulation (“FAR”) 52.203-5 likewise prohibits such

contingent fees, defined as “any commission, percentage, brokerage, or other fee



                                        17
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page34
                                                          34of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 33 of 78



that is contingent upon the success that a person or concern has in securing a

Government contract.” Contracts must warrant that no person has been retained to

obtain the contract upon an agreement for a contingent fee. FAR 52.203-5(a). The

FAR was incorporated into FEMA’s RFP and MATOC. (See ECF 89-4 at 34.)

      The proposed “Commission Agreement” drafted by Plaintiffs would have

violated those laws by requiring “a commission for assistance in procuring the

[FEMA] contract(s).” (ECF 89-15 at 4.) TSI rejected that unlawful language, and

all parties signed a Consulting Agreement that allowed a success fee only on actual

sales of Niagara water procured by Plaintiffs. (ECF 1-3 at 1; ECF 299-1.)

      At trial, Plaintiffs argued and testified that the Consulting Agreement should

be interpreted and applied in line with their rejected draft: that they should receive

a commission for assisting with procuring a government contract. The Plaintiffs

testified that their work was finished under the Consulting Agreement when the

MATOC was issued because they believed they were entitled to a commission just

for helping TSI procure the MATOC. (See ECF 308 at 37:12-16; ECF 308 at

38:4-20; ECF 308 at 128:12-18; [Trial Tr. 201:12-16; 202:4-20; 292:12-18].)

      Thus, it became clear at trial that Plaintiffs’ interpretation of the Consulting

Agreement would make it an illegal and unenforceable contract with an unlawful

contingent fee. See Quinn v. Gulf & W. Corp., 644 F.2d 89, 92 (2d Cir. 1981) (“It

is well established that a contract between private parties for a contingent fee, in


                                         18
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page35
                                                          35of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 34 of 78



violation of Federal Procurement Regulations, will not be enforced.”). “For the

breach or violation …, the Federal Government may annul the contract … or

deduct from the contract price or consideration the full amount of the commission,

percentage, brokerage, or contingent fee.” 41 U.S.C. § 3901(b)(2).

      TSI had “expressly reserve[d] the right to amend the … Affirmative

Defenses to include any additional defenses … including but not limited to any

facts which, at trial … may reveal such additional defenses….” (ECF 67 at 6-7 ¶ 9.)

Thus, at the close of Plaintiffs’ case, TSI made an ore tenus motion before the judge

(ECF 308 at 255:7 to 261:24 [Trial Tr. 419:7 to 425:24]; ECF 307 at 94:9-19 [Trial

Tr. 524:9-19]), and promptly filed a written motion during trial (ECF 289), for

leave to amend its Affirmative Defenses to include:

      NINTH AFFIRMATIVE DEFENSE: Plaintiffs’ claims are barred
      because they depend on an interpretation of the Consulting Agreement
      (that Plaintiffs are entitled to a success fee on all income under the
      MATOC merely for succeeding in helping to obtain the contract)
      which renders it an illegal contract with an unlawful contingent fee in
      violation of 41 U.S.C. § 3901(b)(1) and FAR 52.203-5, and thus the
      Consulting Agreement is unenforceable.

The judge, based on an erroneous recollection of Plaintiffs’ testimony and without

checking the rough transcript (see Trial Tr. 421:22 to 422:14; 524:17-18), denied

the motion. (ECF 307 at 108:15 to 109:3 [Tr. 538:15 to 539:3]; ECF 302 at 1.)

      That denial was contrary to the principle that “[a] party may move—at any

time, even after judgment—to amend the pleadings to conform them to the


                                         19
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page36
                                                          36of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 35 of 78



evidence….” Fed. R. Civ. P. 15(b)(2). Amendments should be granted liberally.

Czeremcha v. Int’l Ass’n of Machinists & Aerospace Workers, 724 F.2d 1552, 1556

(11th Cir. 1984). “The court should freely give leave when justice so requires.”

Fed. R. Civ. P. 15(a)(2). Justice plainly required the amendment here because the

jury needed to know that Plaintiffs’ application of the Consulting Agreement made

it illegal and unenforceable because federal law prohibits TSI from giving

Plaintiffs a commission for doing nothing but securing the MATOC.

      The jury needed to know that the illegality especially affects commissions on

drop containers since Plaintiffs did no work towards obtaining shipping containers

and the Consulting Agreement expressly provided for commissions only on

“bottled water.” The district court’s denial of the amendment resulted in an award

of millions of dollars of commissions that Plaintiffs have no right to receive, in

contravention of federal law. “[C]ourts should allow amendments to conform the

pleadings to the evidence both during trial, and even after judgment, as long as the

opposing party cannot prove that he is thereby prejudiced[.]” Harris v. Garner, 216

F.3d 970, 996 (11th Cir. 2000). Plaintiffs did not prove any prejudice here.

      Accordingly, this Court should reverse the Judgment and direct the district

court to allow amendment of TSI’s Affirmative Defenses and hold a new trial

featuring the Illegal Contract defense, or simply direct the district court to rule as

a matter of law that any commissions on drop containers are prohibited.


                                         20
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page37
                                                           37of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 36 of 78



 III. THE CONSULTING AGREEMENT WAS NOT MODIFIED ORALLY OR BY
      CONDUCT TO INCLUDE NESTLÉ WATER.

      The Consulting Agreement was expressly limited to TSI’s sales of “a supply

of bottled water supplied by Niagara Bottling, LLC,” which TSI had “procured”

“with the assistance of [Plaintiffs].” (ECF 1-3 at 1.) It prohibits any modification

unless in writing and formally signed by all parties. The district court misapplied a

rare legal exception to allow an oral or implied modification in spite of that contract

clause; and there was insufficient evidence to support any modification.

      A. Plaintiffs failed to plead and prove the stringent elements for an
         exception for oral or implied modification where the contract
         expressly requires a writing signed by all parties.

      The Consulting Agreement prohibits any oral or implied modification: “The

Parties agreed that any amendment and/or modification or change in terms of this

Agreement shall only be effective if in writing and signed by all of the Parties

hereto;” and “any other understandings and/or agreements not set forth herein are

of no force or effect whatsoever.” (ECF 1-3 at 2 ¶¶ 4 and 3 (emphasis added).)

      In the face of an express provision prohibiting informal modification, courts

are generally obligated to enforce the contract as written. Okeechobee Resorts,

L.L.C. v. E Z Cash Pawn, Inc., 145 So. 3d 989, 993 (Fla. 4th DCA 2014). The

district court should have done so, as TSI requested in its first motion for summary

judgment. (ECF 89 at 14-20; ECF 101 at 3-12.)



                                          21
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page38
                                                          38of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 37 of 78



      There is a rare possible exception, which Plaintiffs did not plead and

certainly did not prove: there must be “clear and unequivocal evidence of a mutual

agreement” to modify the contract, Fidelity & Deposit Co. of Maryland v. Tom

Murphy Const. Co., 674 F.2d 880, 885 (11th Cir. 1982) (emphasis added) and that

the modification “has been accepted and acted upon by the parties in such a manner

as would work a fraud on either party to refuse to enforce it,” Professional Ins.

Corp. v. Cahill, 90 So. 2d 916, 918 (Fla. 1956) (emphasis added). Plaintiffs did not

claim a fraud, and the evidence was insufficient to find a modification.

      Plaintiffs primarily relied on a text message of September 10, 2017 where

Jordan Simons voluntarily asked if TSI needed help with anything, and TSI replied

that Simons could help by “[g]etting more water suppliers[.] The more the better.”

(ECF 293-4 at 29). The text message did not mention Nestlé water. It did not

suggest that Plaintiffs would be paid for anything outside of the Agreement. It did

not say that the Agreement would be modified.

      Plaintiffs also relied on an e-mail to Simons on December 6, 2017,

transmitting a payment of $642,751.26 (including a commission to Plaintiff

Simons Explorations, Inc., on Niagara, and a commission to Simons individually

on Nestlé water sales): “Will add the other 12.5% for Nestlé when we get paid for

the containers in January.” (ECF 293-5 at 19.) It did not state any agreement to

modify the Consulting Agreement; and the “other 12.5%” was never paid because


                                        22
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page39
                                                          39of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 38 of 78



Peterson was not involved with Nestlé water and TSI had not made a

side-agreement with him as the evidence showed TSI made with non-party Simons

individually regarding Nestlé water. (ECF 293-5 at 23; ECF 308 at 40:15-17.)

      The text and e-mail message were far from “clear and unequivocal” proof of

a mutual agreement accepted by all parties to modify the Consulting Agreement

without the required formal writing. The Agreement’s express prohibition of

modification except by a writing signed by all parties was drafted by Plaintiffs

themselves and must be construed against them; so it is remarkable that there was

not even a text message or e-mail reflecting a modification. Yet, the district court

found that it was “modified by conduct.” (ECF 305 at 8.) This Court likely will not

be persuaded. Cf. Energy Smart Indus., LLC v. Morning Views Hotels-Beverly

Hills, LLC, 660 F. App’x 859, 864 (11th Cir. 2016) (“We are not persuaded that the

… Agreement was modified by the parties’ conduct…. Energy Smart has not met

its burden of showing by clear and unequivocal evidence that the parties mutually

agreed [to modified terms].” (emphasis added)).

      “Cahill requires that a party pursuing such a claim allege and prove

more—indeed much more—than just a ‘mutual agreement,’ or just ‘detrimental

reliance,’ or just ‘subsequent conduct,’ or just generalized ‘inequitable conduct.’

Rather, a plaintiff must again allege—and eventually prove—that the oral

amendment was accepted and acted upon by [all] the parties in such a manner as


                                        23
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page40
                                                           40of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 39 of 78



would work a fraud on either party to refuse to enforce it.” Okeechobee Resorts,

L.L.C., 145 So. 3d at 995 (underlining added; other emphasis in original). “The

elements for actionable fraud are (1) a false statement concerning a material fact;

(2) knowledge by the person making the statement that the representation is false;

(3) the intent by the person making the statement that the representation will induce

another to act on it; and (4) reliance on the representation to the injury of the other

party.” Lance v. Wade, 457 So. 2d 1008, 1011 (Fla. 1984).

      This requires that a plaintiff plead (and again eventually prove):
      (a) that the parties agreed upon and accepted the oral modification
      (i.e., mutual assent); and (b) that both parties (or at least the party
      seeking to enforce the amendment) performed consistent with the
      terms of the alleged oral modification (not merely consistent with
      their obligations under the original contract); and (c) that due to
      plaintiff’s performance under the contract as amended the defendant
      received and accepted a benefit that it otherwise was not entitled to
      under the original contract (i.e., independent consideration).

Okeechobee Resorts, L.L.C., 145 So. 3d at 994-95 and 993 (emphasis added).

      Plaintiffs failed to plead, let alone prove, those elements or the elements of

fraud. Plaintiffs only suggested in an Interrogatory answer that the Consulting

Agreement was unilaterally “modified and or clarified in writing by [TSI] on

September 10, 2017, via text message” and that Simons “then proceeded to

communicate with other bottled water suppliers….” (ECF 89-18 at 3.) In reality,

Simons had already been voluntarily contacting and cold-calling other water

suppliers at least four days prior to that text message. (See ECF 293-4 at 16 [96-4


                                          24
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page41
                                                          41of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 40 of 78



at 1].) Nothing about the facts could remotely work a fraud on Plaintiffs.

      TSI was entitled to be paid by FEMA for any water that it sold to FEMA; but

Plaintiffs agreed to receive a commission only on TSI’s sales of the supply of the

Niagara water that Plaintiffs had purportedly procured for TSI before signing the

Consulting Agreement. (ECF 1-3 at 1.)

      Through the no-oral-modifications clause, “[t]he parties bargained for the

right not to be entangled in vexatious and prolonged litigation based upon alleged

oral [or implied] modifications of their agreement….” Id. at 996 n.2. Plaintiffs’

“claims are barred by the terms of the contract itself.” Id. The district court “was

obligated to enforce the contract as plainly written.” Id.

      B. Conduct cannot vary the express terms of a written contract, nor
         can it change any terms of an unambiguous contract.

      The verdict and Judgment fundamentally conflict with the express terms of

the Agreement, which explicitly and unambiguously allows a commission solely

on “bottled water supplied by Niagara Bottling, LLC.” (ECF 1-3 at 1.) Nothing is

ambiguous about those terms. (See ECF 101 at 3-6.)

      By alleging an implied modification to include Nestlé water, Plaintiffs

sought to fundamentally transform the express terms of the unambiguous narrow,

limited Consulting Agreement into a broad and unlimited joint venture.

      Course of dealing “cannot be used to vary the terms of an unambiguous



                                         25
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page42
                                                          42of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 41 of 78



contract” and “cannot operate to contravene express instructions or to contradict an

express contract to the contrary.” Indian Harbor Citrus, Inc. v. Poppell, 658 So. 2d

605, 606 (Fla. 4th DCA 1995) (citations and internal quotes omitted). See also Cox

v. CSX Intermodal, Inc., 732 So. 2d 1092 (Fla. 1st DCA 1999) (declining to find a

modification through course of dealing where the purported modification would

conflict with an express contract term); Flagship Nat’l Bank v. Gray Distribution

Systems, Inc., 485 So. 2d 1336, 1340 (Fla. 3d DCA) (good faith and course of

dealing cannot override express contract terms).

      These principles of Florida law are especially critical where the contract

expressly prohibits any modification except by a writing signed by all parties and

voids any other understandings. Such express terms preclude a modification by

course of dealings. Cf. Cox, 732 So. 2d at 1097 (citations omitted).

      There was no genuine dispute as to any material fact for the jury to

determine, and the verdict finding a modification by conduct was unsupported by

the evidence. In fact, it was contrary to the evidence and the law. TSI was plainly

entitled to judgment as a matter of law. The court erred in failing to grant summary

judgment pursuant ECF 89 and 101.

      The final Judgment subsequently entered upon an unsupported verdict, and

contrary to Florida law, must be reversed.




                                        26
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page43
                                                          43of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 42 of 78



      C. The Parties’ communications after the alleged “modification”
         belied any claim of modification.

      Plaintiffs admitted in the record that the Consulting Agreement was not

orally modified, and the record evidence, such as correspondence from Simons,

long after the supposed modification occurred, belies any claim of modification.

(See ECF 89 at 14; ECF 89-18 at 4 (Plaintiffs’ Interrogatory 2, alleging a “written

[not oral] modification … whereby Plaintiffs were instructed to assist in finding

other bottled water suppliers”); ECF 89-2 at 12 (Peterson depo. at 40, admitting

that there was no written modification signed by all the parties); ECF 89-3 at 29-30

(Simons depo. at 109:19 to 110:10, admitting that there was no written

modification signed by all the parties); ECF 89-19 at 2 (“[the Consulting

Agreement] should’ve been a teaming agreement or joint venture”); ECF 89-26 at

2 (e-mail from Simons to TSI in May 2018, “we helped you get this and we deserve

something”); ECF 89-22 at 2 (discussing potential new consulting agreements in

June of 2018 for Nestlé water); ECF 89-19 at 2 (Simons telling TSI in May 2018,

“Please let me know if you would like for me to take a crack at [modifying] the

contract because it does need to be fixed….”).

      These communications show that Plaintiffs knew that the Consulting

Agreement had not been modified. Thus, where the only discussions of a

modification to the Consulting Agreement or the prospect of new agreements



                                        27
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page44
                                                          44of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 43 of 78



occurred roughly nine months after the supposed text-message modification and

showed that there had been no modification, the jury’s finding that the Agreement

was modified in September 2017 was contrary to the evidence.

      D. The Judgment and verdict further err in finding a commission due
         to GPDEV, LLC on Nestlé water, when Peterson was not involved in
         procuring Nestlé water.

      Even if, arguendo, a modification by conduct could lawfully be inferred as

to Simons, there clearly was no modification by conduct concerning GPDEV, LLC

(Mr. Peterson’s company). The September 10, 2017 text message was solely

between Simons and TSI. (ECF 293-4 at 29.) Plaintiffs made a jury argument that

“when you reach out to one of them, you’ve reached out to both” of the Plaintiffs.

(ECF 307 at 120:17-19 [Trial Tr. 550:17-19].) But the record evidence shows that

only Simons was invited to seek other water, and only Simons was involved in

procuring Nestlé water. Peterson admitted he had nothing to do with Nestlé water.

(ECF 308 at 40:15-17 [Trial Tr. 204:15-17].)

      Thus, the verdict is unsupported by the evidence. There is no ground for

finding any commission due to GPDEV when Peterson was not invited to procure

Nestlé water and did not help with it and there was no separate agreement with

Peterson as with Simons. (See ECF 101 at 11.)

      Accordingly, even if, arguendo, any commission were due on Nestlé water,

it would be due only to Simons individually; and he was already paid in 2017.


                                       28
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page45
                                                          45of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 44 of 78



 IV. THE CONSULTING AGREEMENT DID NOT PROVIDE FOR A
     COMMISSION ON INCOME FROM FEMA’S SUBSEQUENT RENTAL OF
     DROP CONTAINERS IN PUERTO RICO.

      Section 2(c) of the verdict found that the Consulting Agreement applied to

“net income from ... [r]etention of drop containers in Puerto Rico.” (ECF 294 at 1.)

This finding related to net income from Contract Line Item 0016 of the MATOC.

(See ECF 307 at 170:1 [Trial Tr. 600:1].) However, the Consulting Agreement

expressly encompasses only the sale of “bottled water.” (ECF 1-3 at 1.) The district

court erred in deeming the Consulting Agreement to be ambiguous and in admitting

parol evidence; and there was insufficient evidence to support the jury’s finding

that the Agreement encompassed income from drop containers.

      A. The court erred in allowing parole evidence as to the meaning of the
         Agreement and whether it encompasses drop containers.

      Where the Consulting Agreement provides for commissions solely on

“bottled water,” the order denying summary judgment erred in ruling that parol

evidence would be allowed as to whether it provides for a commission on rental of

drop containers. (ECF 220 at 6.) There is no ambiguity that could justify admitting

parol evidence, and under the circumstances it would have been impossible for the

parties to have contemplated anything besides bottled water. The issue never

should have gone to the jury, and the verdict and Judgment are erroneous as a

matter of law.



                                        29
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page46
                                                          46of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 45 of 78



      1. The plain language of the contract is the best evidence of intent.

      “[A] contract depends … not on the parties having meant the same thing but

on their having said the same thing” by signing it. Robbie v. Miami, 469 So. 2d

1384, 1385 (Fla. 1985) (emphasis added; citation and internal quotes omitted).

“[T]he actual language used in the contract is the best evidence of the intent of the

parties, and the plain meaning of that language controls.” Acceleration Nat’l Serv.

Corp. v. Brickell Fin. Servs. Motor Club, Inc., 541 So. 2d 738, 739 (Fla. 3d DCA

1989) (emphasis added; citations omitted). The actual language of the Consulting

Agreement limits commissions to “bottled water.” (ECF 1-3 at 1.)

      2. The Agreement is not ambiguous.

      The lower court erred in deeming the Consulting Agreement “ambiguous.”

(ECF 220 at 6.) It has no patent ambiguity. It unmistakably expresses that TSI

would pay Plaintiffs a “success fee” on income from “a supply of bottled water

supplied by Niagara Bottling, LLC” procured “with the assistance of [Plaintiffs].”

(ECF 1-3 at 1.) That language is clear and intelligible with but a single meaning.

      There is also no latent ambiguity, as the Agreement does not “fail[ ] to

specify the rights or duties of the parties in certain situations” within its scope.

Thompson v. Watts, 111 So. 3d 986, 989 (Fla. 1st DCA 2013) (internal quotes and

citations omitted). The scope of the contract specifies solely “bottled water

supplied by Niagara Bottling, LLC.” And “when certain persons or categories are


                                         30
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page47
                                                          47of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 46 of 78



specified in a contract, an intention to exclude all others may be inferred.” IBM

Poughkeepsie Emps. Fed. Credit Union v. Cumis Ins. Soc’y, Inc., 590 F. Supp. 769,

773 n.19 (S.D.N.Y. 1984). See also Prewitt Mgmt. Corp. v. Nikolits, 795 So. 2d

1001, 1005 (Fla. 4th DCA 2001) (“an inference must be drawn that what is not

included by specific reference was intended to be omitted or excluded”).

      3. Error in Admission of Parol Evidence

      “The interpretation of a contract is a matter of law for the court….” Avatar

Dev. Corp. v. De Pani Constr., 834 So. 2d 873, 876 n.2 (Fla. 4th DCA 2002).

“Because the construction of a contract is a matter of law, this [appellate] court may

properly reassess the meaning of the … agreement and arrive at a conclusion

different from that of the trial court.” Broward County v. LaPointe, 685 So. 2d 889,

892 (Fla. 4th DCA 1996) (citations omitted).

      As the face of the Consulting Agreement “is not ambiguous, … it was error

for the trial court to go beyond the face of the contract to consider extrinsic

circumstances.” Acceleration Nat’l Serv. Corp. v. Brickell Fin. Servs. Motor Club,

Inc., 541 So. 2d 738, 739 (Fla. 3d DCA 1989). See also City of Clearwater v.

BayEsplanade.com, Ltd. Liab. Co., 251 So. 3d 249, 255 (Fla. 2d DCA 2018) (the

trial court erred in determining that a document was ambiguous and therefore erred

in admitting parol evidence to construe it).

      Parol evidence at trial created an ambiguity where none existed. See


                                         31
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page48
                                                          48of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 47 of 78



Japanese Gardens Mobile Estates, Inc. v. Hunt, 261 So. 2d 193, 196 (Fla. 2d DCA

1972) (“Clearly and unequivocally [the deed restriction] means what it says…; and

to admit extrinsic evidence as to some other meaning, or to show by parol that it

means [something else], would be both to create an ambiguity and to rewrite the

contract of the parties. Neither is permissible.” (emphasis in original)).

      In allowing parol evidence, the district court contravened the merger clause

that excludes and invalidates any other understandings besides what is expressly

stated. (ECF 1-3 at 2 ¶ 3.) Such a merger clause shows that “the parties to a written

contract intended that writing to be the sole expositor of their agreement.” Jenkins

v. Eckerd Corp., 913 So. 2d 43, 53 (Fla. 1st DCA 2005) (emphasis added; internal

quotes and citations omitted).

      Plaintiffs may regret the deal they made; but “when the terms of a voluntary

contract are clear and unambiguous, as here, … a court is powerless to rewrite the

contract to make it more reasonable or advantageous for one of the contracting

parties.” Emergency Assocs., P.A. v. Sassano, 664 So. 2d 1000, 1003 (Fla. 2d DCA

1995) (citation omitted).

      “Simply put, the [Agreement] means what it says and says what it means;

nothing more, nothing less.” See Fla. Hurricane Prot. & Awning, Inc. v. Pastina,

43 So. 3d 893, 895 (Fla. 4th DCA 2010).




                                         32
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page49
                                                          49of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 48 of 78



      B. The Parties could not have contemplated rental of shipping
         containers and they had no meeting of the minds as to a commission
         for such separate procurement.

      When the Parties signed the Consulting Agreement in August 2017, they

could not have contemplated rental of containers under Contract Line Item 0016

(“CLIN 0016”), which did not exist.

      Drop containers were not even part of the RFP in June 2017 (ECF 293-2 at

13) nor the Statement of Work (293-2 at 2). Nor did FEMA’s MATOC of

September 5, 2017 include any line item for rental of containers. (ECF 293-3 at 3.)

It was not until two months later, after the water was delivered to Puerto Rico, that

FEMA added a new and distinct contract line item for rental of drop containers,

effective November 7, 2017. (ECF 293-5 at 6.)

      In August 2017, no one could have contemplated that FEMA would end up

renting shipping containers, and certainly not for six months or more. (The last of

the containers was returned in 2019. (ECF 307 at 18:12-13 [Trial Tr. 448:12-13].))

       “[A] meeting of the minds of the parties on all essential elements is a

prerequisite to the existence of an enforceable contract….” Central Properties, Inc.

v. Robbinson, 450 So. 2d 277, 280 (Fla. 1st DCA 1984). There could not have been

a meeting of the minds for any commission on drop containers. The Agreement

encompassed only “bottled water.”




                                         33
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page50
                                                          50of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 49 of 78



      C. The mention of a rate for potential drop trailers in FEMA’s
         Statement of Work or RFP does not support the notion that the
         Consulting Agreement encompassed drop containers.

      At trial (ECF 307 at 112:12 to 113:2 [Trial Tr. 542:12 to 543:2]), Plaintiffs

illogically argued that the Consulting Agreement allegedly encompassed FEMA’s

post-hoc rental of shipping containers (after TSI delivered the water) because

FEMA’s Statement of Work mentioned the possibility of “drop trailers” (ECF

293-2 at 4-5) or the RFP mentioned the possibility of a CLIN 0003AA for drop

trailers (ECF 89-4 at 5). But shipping containers are not drop trailers; and FEMA

did not include drop trailers in TSI’s task order award.

      TSI’s government contracting expert, Mark St. Moritz, explained that the

possibility of drop trailers in those documents was separate from the water:

      … FEMA contracted for bottled water to be delivered to specific
      locations and an additional contract requirement for drop trailers to be
      separate line items that could be bought separately when needed. Had
      FEMA intended the [potential] drop trailer requirement to be an
      integral part of the bottled water deliveries, it would have included
      this [as] a Sub CLIN (SLIN) under the bottled water CLINs and, in
      fact, would have been required to do so by regulation….
           TSI agreed to pay [Plaintiffs] a fee for assistance in procuring
      bottled water. Nowhere in the agreement does it state that bottled
      water includes drop trailers which is in fact a separate procurement
      under the FAR as shown above.

(ECF 182-1 at 3.) Likewise, at trial, the expert testified that separate CLINs are

independent procurements for separate deliverables. Thus, the drop container

procurement was separate from the water procurement. (ECF 307 at 46:4-16 [Trial


                                         34
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page51
                                                          51of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 50 of 78



Tr. 476:4-16].)

      These government contracting principles vitiate Plaintiffs’ argument. The

existence of a potential “drop trailer” item in the RFP—which would have been a

separate procurement—could not translate into the Parties contemplating an

unexpected rental of shipping containers as a source of income for the Consulting

Agreement which was exclusively designed to reward Plaintiffs for having

arranged a source of Niagara-brand “bottled water.”

      Anything beyond the actual bottled water was not only expressly excluded

from the Consulting Agreement, it was also excluded by the fact that the Parties did

not discuss or negotiate drop containers; they were not included in FEMA’s task

order; and no procurement for containers existed until months later after FEMA’s

unilateral amendment creating CLIN 0016.

      Even the proposed draft by Peterson referred solely to “bottled water.” (ECF

89-15.) The Parties purposefully omitted mention of anything else. “[C]ourts

should not, under the guise of construction, impose on the parties contractual rights

and duties which they themselves omitted. This would impermissibly write a new

contract that the parties themselves could have, but did not, write.” Advanzeon

Sols., Inc. v. State ex rel. Fla. Dep’t of Fin. Servs., 321 So. 3d 911, 915 (Fla. 1st

DCA 2021) (emphasis added; citations and internal quotes omitted).




                                         35
          Case
          Case22-10066-CTG
               22-10066-CTG Doc
                              Doc164-1
                                 38-2 Filed
                                        Filed01/26/22
                                              04/28/22 Page
                                                       Page52
                                                            52of
                                                               of79
                                                                  79
         USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 51 of 78



        D. The term “Cost of Goods Sold” in the Net Income formula did not
           allow commissions on anything besides bottled water.

        Plaintiffs argued at trial that the Consulting Agreement encompassed more

than water because the expenses in the Net Income calculation included “Cost of

Goods Sold” along with Transportation and Direct Labor Expenses. (ECF 1-3 at 1.)

They argued that “Cost of Goods Sold” is “more than water” and could mean drop

containers. (ECF 307 at 153:19 to 154:8 [Trial Tr. 583:19 to 584:8].) That

argument is absurd. The Net Income formula uses three accounting terms of art,

and “Cost of Goods Sold” is simply a term of art meaning the expense TSI incurred

in procuring the water1 which is the subject of the entire contract.

        “In construing a contract, the legal effect of its provisions should be

determined from the words of the entire contract.” Sugar Cane Growers Coop. of

Fla., Inc. v. Pinnock, 735 So. 2d 530, 535 (Fla. 4th DCA 1999). “[T]he individual

terms of a contract are not to be considered in isolation, but as a whole and in

relation to one another, with specific language controlling the general.” South Fla.

Bev. Corp. v. Figueredo, 409 So. 2d 490, 495 (Fla. 3d DCA 1981) (citations

omitted). Bottles of water are the only goods mentioned in the Agreement, and all

throughout the Agreement. They were the only goods sold. TSI never sold

containers. FEMA simply paid a fee to retain them temporarily.


1
    See https://www.AccountingTools.com/articles/2017/5/4/cost-of-goods-sold

                                         36
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page53
                                                          53of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 52 of 78



      E. TSI did not certify that all payments requested from FEMA were
         contemplated by the Consulting Agreement.

      Plaintiffs confused the jury by arguing that when Ms. Mott of TSI signed

vouchers for payment from FEMA, she supposedly “certified” that “all of the

money … that was paid from the government was part and parcel of this

agreement….” (ECF 307 at 114:25 to 115:6 [Trial Tr. 544:25 to 545:6].) Plaintiffs

argued that “each time [TSI] sent a bill to the government, each time she swore that

all of the costs included were under the contract, that language tracks with the

language of the consulting agreement.” (ECF 307 at 155:8-11 [Trial Tr.

585:8-11].) Plaintiffs argued that “[CLIN 0016 is] the same contract…. Hold her to

her word. She certified that all of these payments are under the same contract.”

(ECF 307 at 161:18-21 [Trial Tr. 591:18-21].) Those arguments misled the jury

with a spurious impression that TSI had certified that all moneys received from

FEMA were part of the Consulting Agreement. It actually did no such thing.

      TSI never certified that any payment was under the “same contract” as any

other payment. The actual language of the certification was: “I certify that all

payments requested are for appropriate purposes and in accordance with the

agreements set forth in the contract.” (Ex. D-1 to ECF 123.) TSI simply certified

that it had done the work for which it sought payment under the MATOC.

      Further, although FEMA eventually added Contract Line Item 0016 to the



                                        37
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page54
                                                          54of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 53 of 78



task order under the MATOC, different contract line items are independent

procurements for distinct deliverables—essentially akin to separate contracts. See

FAR 4.1001 and 4.1003 (requiring separate line items for deliverables that are

separately identifiable or separately deliverable). FEMA’s need for the containers

was legally independent of the bottled water under Contract Line Item 0002AA. It

was also independent of the private Consulting Agreement that predated Contract

Line Item 0016 by three months and was exclusively limited to “bottled water.”

      F. Plaintiffs’ quest for a commission on drop containers is an improper
         attempt to rewrite the final, limited Consulting Agreement back to
         Plaintiffs’ initial expansive draft.

      The proposed “Commission Agreement” drafted by Peterson with input

from Simons (ECF 89-15) reflected a very broad scope with a commission on

everything under the MATOC—any task order and any contract line item—based

on Plaintiffs’ doing nothing but introducing TSI to Niagara so that TSI would

qualify for the MATOC. Plaintiffs’ draft expressly called for “a commission for

assistance in procuring the [government] contract(s).” (ECF 89-15 at 4.)

      That expansive scope was specifically rejected by TSI, and for good reason:

such language would have made it an illegal contract (see Point II above). In the

final Consulting Agreement, a commission does not flow from the mere fact that

Plaintiffs helped TSI obtain the MATOC, nor does every conceivable activity

under the MATOC generate a commission. The commission is limited to sales of


                                       38
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page55
                                                           55of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 54 of 78



“bottled water” and encompasses only “contracts [in] which TSI uses the supply of

bottled water through Niagara Bottling, LLC.” (ECF 1-3; ECF 299-1.) No other

product and no other brand of water was allowed.

      All parties agreed to that final version and executed it, including a

prohibition on oral or implied modification and declaring that “any other

understandings and/or agreements not set forth herein are of no force or effect

whatsoever.” (ECF 1-3 at 2.)

      Yet, Plaintiffs sued TSI in an after-the-fact attempt to rewrite the final,

executed Consulting Agreement back to Peterson’s proposed draft. The jury was

led into error and the court effectively rewrote the Consulting Agreement to give

Plaintiffs a better deal than what they bargained for by signing the final Consulting

Agreement. “It is never the role of a trial court to rewrite a contract to make it more

reasonable for one of the parties or to relieve a party from what [allegedly] turns out

to be a bad bargain.” Barakat v. Broward County Housing Authority, 771 So. 2d

1193, 1195 (Fla. 4th DCA 2000) (citations omitted).

      In sum, the Consulting Agreement did not encompass drop containers. The

jury’s verdict is contrary to the evidence and the law. This issue never even should

have gone to the jury; TSI’s second motion for summary judgment (ECF 209)

should have been granted as there was no genuine dispute of material fact and TSI

was entitled to judgment as a matter of law.


                                          39
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page56
                                                          56of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 55 of 78



 V.   IF, ARGUENDO, ANY COMMISSIONS WERE DUE, THE AMOUNTS IN THE
      JUDGMENT ARE ERRONEOUS, FOLLOWING PLAINTIFFS’ EXPERT’S
      MISTAKEN SUMMARY WHICH MISCALCULATED NET INCOME.

      Assuming arguendo that Plaintiffs-Appellees are entitled to any amount, the

amounts found by the jury are erroneous. They followed the summary by Plaintiffs’

expert, Mr. Orner (ECF 293-6 at 12-19), which improperly included millions of

dollars of income from drop containers and wrongly excluded valid expenses.

      The summary also excluded $1,036,000.34 of expenses that TSI paid to

Coakley Logistics because he was not sure what service Coakley provided and he

unilaterally assumed that there was no contract with Coakley. (ECF 308 at 212:24

to 217:22 [Trial Tr. 376:24 to 381:22]; ECF 293-6 at 17.) However, the jury did not

make any finding that there was no contract with Coakley; and what matters is not

the presence of a written contract, but the presence of invoices. (See ECF 228 at 12;

ECF 186 at 186:13 to 187:24; ECF 186 at 189:18-21.) Steve Acosta testified that

Coakley transported the water on barges to Puerto Rico and that Coakley had

everything to do with the logistics. (ECF 307 at 17:5-22 [Trial Tr. 447:5-22].)

      And while it is not necessary to TSI’s case, Coakley and TSI obviously must

have had an understanding that Coakley would be paid for its services when TSI

brought Coakley in to perform the barge transportation. (Cf. ECF 307 at 186:4-22

[Trial Tr. 616:4-22].) Coakley Logistics’ services were essential. The record

includes e-mails demonstrating the amount of work Coakley did to merit the


                                         40
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page57
                                                          57of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 56 of 78



payments. (ECF 135 at 9; ECF 135-1 & 135-2.)

      Thus, TSI’s Net Income should have been reduced by the $1,036,000 paid to

Coakley for the barge shipping, before calculating a commission. (ECF 308 at

225:23 to 226:10; ECF 308 at 231:20 to 237:4; ECF 307 at 142:4-8 [Trial Tr.

389:23 to 390:10; 395:20 to 401:4; 572:4-8]; ECF 299-2.)

      Orner also erroneously excluded certain Bering Straits logistics expenses

(the difference between Bering Straits’ wholesale cost and its price of 42 cents per

bottle—including transportation—in the first phase of CLIN 0002AA, and a 6%

transportation fee markup for the second phase). Orner mistakenly assumed this

expense was a “bridge financing.” Orner erroneously rejected over a million dollars

($1,162,568 or $1,303,750) of expenses by mistakenly calling them “financing

fees” (ECF 293-6 at 16), mistakenly claiming that TSI “used Bering Straits [like a]

bank as their financing arm.” (ECF 181-1 at 7.)

      If Orner’s incredible theory had been true, the annualized interest on that

alleged “financing” would have been about 62%—an outrageous and usurious

amount that no company would agree to pay for a loan. (See ECF 308 at 221:14-21

[Trial Tr. 385:14-21].) It was actually an ordinary cost-plus subcontracting

arrangement, comparable to a markup from wholesale to retail—which actually

worked in Plaintiffs’ favor by virtually guaranteeing a profit. (See ECF 244-1 at

11-12; ECF 308 at 212:24 to 221:21 [Trial Tr. 376:24 to 385:21].) TSI’s


                                        41
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page58
                                                          58of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 57 of 78



accounting expert determined and reported that “such fees meet the requirements

… to be included as Cost of Goods Sold or Transportation expenses for purposes

of calculating Net Income.” (ECF 244-1 at 12.) This cost-plus subcontracting

expense—the Cost of Goods—should have been applied to reduce Net Income

before calculation of any commissions. (See ECF 307 at 145:15 to 146:1 [Trial Tr.

575:15 to 576:1].)

      TSI’s demonstrative exhibit at trial (ECF 299-2) showed that, if expenses

were properly deducted, TSI actually overpaid Plaintiffs by $95,032 based on the

Consulting Agreement for Niagara water. It also showed that the maximum

commission TSI could possibly owe—if arguendo drop containers were

applicable—would be $4,616,390. (ECF 299-2 at 1.) On cross examination, Orner

admitted that, if all documented expenses were included, and the drop container

rental income excluded, the most that Plaintiffs could properly claim is

$146,010.00, not the $5,254,577 the jury awarded. (ECF 308 at 234-240; ECF

299-2.) As such, Orner’s calculation of a total of $5,254,577 as commissions due

and owing ($2,770,855 to GPDEV, LLC and $2,483,722 to Simons Exploration,

Inc.) was erroneously inflated by at least $638,187 and more likely by millions.

      The largest part of the amounts in Orner’s calculations came from the drop

container rental income that he should not have included at all because the

Agreement clearly did not contemplate it, and federal law prohibits a commission


                                       42
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page59
                                                          59of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 58 of 78



for securing a federal contract. (See ECF 289 and pp. 17-20, supra.) Plaintiffs

testified that they were entitled to commissions on all payments under the MATOC

solely because they secured the MATOC for TSI—not because of any modification

of the clear, unambiguous, unequivocal language of the Consulting Agreement that

limited commissions to “bottled water.” (See ECF 308 at 37:12-16; ECF 308 at

38:4-20; ECF 308 at 128:12-18; [Trial Tr. 201:12-16; 202:4-20; 292:12-18].)

      The only way the jury could have concluded that Plaintiffs were entitled to

compensation on the drop container rental was because the jury accepted Plaintiffs’

assertion that they were entitled to a commission on all income under the MATOC.

Plaintiffs testified that TSI would never have been awarded the MATOC without

Plaintiffs having secured Niagara water and, therefore, they were entitled to a

commission on all MATOC payments irrespective of whether they did anything

more after the MATOC was awarded. Thus, the only evidentiary ground for

Orner’s calculations based on the drop container rental income is Plaintiffs’

assertion that they are entitled to the commission simply for securing the MATOC.

But such a commission is unlawful as explained at pp. 17-20, supra, and ECF 289.

      The jury blindly followed Orner’s erroneous summary (trial exhibit 19) and

the verdict was not supported by sufficient evidence because his calculations were

mistaken and inconsistent with federal law. If anything were due, it would be far

less than the Judgment found. Thus, the Judgment should be reversed.


                                        43
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page60
                                                          60of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 59 of 78



 VI. THE DISTRICT COURT ERRED IN ASSESSING $991,498.78 OF
     PREJUDGMENT INTEREST.

      This Court should reverse the award of $991,498.78 of prejudgment interest.

Plaintiffs are entitled only post-judgment interest. Alternatively, any prejudgment

interest began to accrue on the date of the verdict. (See ECF 298.)

      A. Only post-judgment interest should apply as no debt was owed until
         entry of a declaratory judgment.

      An award of prejudgment interest is inapplicable because Plaintiffs did not

plead any count for breach of contract and, thus, there were no “damages” until the

court entered a declaratory judgment regarding the Consulting Agreement, at

which time post-judgment interest would accrue on the amount declared.

      The counts in the Complaint were for Declaratory Judgment as to the scope

of the Consulting Agreement (Counts I, II, III, and IV), and an Equitable

Accounting (count V). (ECF 1.) There was no claim for breach of contract, nor did

the jury find any breach or damages for a breach of contract. (See ECF 294). In

essence, what the jury did was to find that the Consulting Agreement covers certain

items and conduct a simple accounting as to what is allegedly owed.

      Thus, no debt was due until the court entered the declaratory judgment on

September 28, 2021. (ECF 305, 306.) See Paoli v. Natherson, 732 So. 2d 486, 487

(Fla. 2d DCA 1999) (reversing an award of prejudgment interest in a judgment

involving a declaratory judgment and accounting). In Paoli, without a claim for


                                        44
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page61
                                                          61of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 60 of 78



breach of contract, Mr. Paoli’s partners sought a declaratory judgment that Paoli

owed the partnership money and sought an accounting as to the amount. The

appellate court reversed the award of prejudgment interest:

      Finally, we reverse the portion of the amended counterclaim judgment
      that granted Natherson and Gallagher prejudgment interest….
      Natherson’s and Gallagher’s counterclaim for breach of contract was
      dismissed and not refiled. Their only counterclaims were equitable,
      and sought a declaratory judgment and an accounting. As such, no
      debt was due until the accounting was completed or the
      declaration entered. If, in the accounting on remand, the circuit court
      determines that Paoli owes any sum to Natherson and Gallagher, the
      court shall not award prejudgment interest on that sum.

Paoli, 732 So. 2d at 488 (emphasis added).

      As in Paoli, Plaintiffs did not plead a claim for breach of contract, and

interest can run only from date of the declaratory judgment.

      B. Even if this were treated as a contract action, prejudgment interest
         cannot be awarded because the date of loss could not be indisputably
         determined for a ministerial computation.

      Even assuming that the Complaint should be treated like an action for breach

of contract as the district court erroneously concluded (ECF 305 at 5), to support

prejudgment interest, a verdict must either fix a date of loss or have “the effect of

fixing damages as of a prior date.” Argonaut Ins. Co. v. May Plumbing Co., 474 So.

2d 212, 214 (Fla. 1985). The verdict here did neither.

      Even if the parties had an “agreement prior to trial that the court would

determine prejudgment interest” (ECF 305 at 4), any such determination by the

                                         45
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page62
                                                          62of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 61 of 78



court would be possible only within the standards established by the Florida

Supreme Court, where there is no factual dispute as to the dates of loss:

      Once a verdict has liquidated the damages as of a date certain,
      computation of prejudgment interest is merely a mathematical
      computation…. Thus, it is a purely ministerial duty of the trial judge
      or clerk of the court to add the appropriate amount of interest to the
      principal amount of damages awarded in the verdict.

Argonaut Ins. Co. v. May Plumbing Co., 474 So. 2d at 214 (emphasis added).

      The Plaintiffs’ alleged entitlement to pre-judgment interest prior to the date

of the verdict would depend on the court’s or clerk’s ability to indisputably

determine the date or dates when payment was due as a ministerial function without

further findings. Here, the record was not clear as to the dates or method to apply.

Any of four methods could be used. (See ECF 298 at 6-8.) The court acknowledged

that there was still a “question about how to calculate interest in this case [namely]

how to match expenses with revenues.” (ECF 305 at 6.)

      Further, the jury did not determine when any payments were due in the past.

The jury was only asked to perform an accounting as to what is allegedly due today.

Where the jury does not determine the date, prejudgment interest can accrue from

a date of loss or a date when a contract payment was due, if the same can be

determined indisputably from the evidence. See Arizona Chem. Co., LLC v.

Mohawk Indus., 197 So. 3d 99, 102-03 (Fla. 1st DCA 2016). Here, the trial exhibits

are disputable and subject to varying reasonable interpretations as to when payment


                                         46
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page63
                                                          63of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 62 of 78



might have been due, making it impossible for the court or clerk to properly

determine any particular date as a ministerial function. (ECF 298 at 6-8.)

      Accordingly, prejudgment interest should not commence until the date of

the jury’s verdict. See Citizens Prop. Ins. Corp. v. Alvarez, 198 So. 3d 45, 46 (Fla.

2d DCA 2015) (reversing a prejudgment interest award because the jury only

found a damages amount as of the time of the verdict, and “[t]here simply is no

factual determination establishing an earlier ‘fixed date of loss’ from which to

calculate prejudgment interest”).

      Plaintiffs could have requested that the jury fix the date or dates of loss, but

they did not; and they should have known that any “agreement” to have the judge

calculate prejudgment interest required Plaintiffs to prove and ask the jury to fix

the date of loss. See Jablonski v. St. Paul Fire & Marine Ins. Co., 645 F. Supp. 2d

1101, 1105-06 (M.D. Fla. 2009) (ruling that prejudgment interest was not

available because there was no factual finding as to when the loss occurred;

“Jablonski could have asked the jury to determine a date on which his loss became

ascertainable. In the absence of such a factual finding, it is inappropriate for this

Court to substitute its own best estimate as to what that date might be.”).

      The district court erred in awarding $991,498.78 of prejudgment interest

based on dates when FEMA made payments. Any interest must start to accrue from

the date of the verdict or, more correctly, from the date of the Judgment.


                                         47
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page64
                                                           64of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 63 of 78



 VII. THE DISTRICT COURT ERRED IN DENYING TSI’S MOTION TO RECUSE
      DUE TO BIAS OR PARTIALITY.

      Based on the averments in TSI’s Affidavit and Motion to Recuse (ECF 155),

the district judge was required to recuse under 28 U.S.C. § 144 and 28 U.S.C. §

455(a) or (b)(1) because a reasonable person would perceive bias or prejudice from

the facts stated, which must be taken as true. This Court should reverse the order

denying recusal (ECF 161), the subsequent rulings, and the Judgment.2

      A. Legal Principles and Standard of Review

      Under 28 U.S.C. § 144, a district judge must recuse himself if a party makes

a timely and sufficient showing by affidavit for the belief that the judge “has a

personal bias or prejudice” against her. “Section 144 requires that where an

affidavit of personal bias or prejudice is filed, the judge must cease to act in the case

and proceed to determine the legal sufficiency of the affidavit.” Bell v. Chandler,

569 F.2d 556, 559 (10th Cir. 1978). Although this Court generally reviews a district

judge’s decision not to recuse for abuse of discretion, In re Moody, 755 F.3d 891,

898 (11th Cir. 2014), a disqualification order under section 144 should be issued

when “a reasonable man would conclude on the facts stated [in the affidavit] that

the district judge had a special bias against defendant.” Bell, 569 F.2d at 559



2
  TSI reasserts the issues previously raised in a petition for mandamus in this Court
in case 20-12322-G, as the standard is different here on appeal.

                                           48
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page65
                                                           65of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 64 of 78



(internal quotes and citations omitted).

      Under 28 U.S.C. § 455(a), a district judge is required to recuse himself “in

any proceeding in which his impartiality might reasonably be questioned.” Id. A

district judge is likewise required to recuse himself under section 455(b)(1) where

“he has a personal bias or prejudice concerning a party.” Id.

      Absent a showing of pervasive bias and prejudice, a judge’s bias or prejudice

must be personal in nature and extrajudicial, and derive from something other than

what the judge learned by virtue of properly participating in the case. McWhorter

v. City of Birmingham, 906 F.2d 674, 678 (11th Cir. 1990).

      The sufficiency of TSI’s Affidavit and Motion to Recuse is a legal question

because the allegations must be accepted as true. “If the affidavit complies with the

statutory standards set forth in Section 144, i.e., timeliness and sufficiency, then the

judge against whom it is directed is obligated to recuse himself even though he may

know for a certainty that the allegations of bias and prejudice made against him are

false.” United States v. Partin, 312 F. Supp. 1355, 1359 (E.D. La. 1970) (citations

omitted). “There can be no dispute either in the district court or on appeal as to the

truth or falsity of the allegations of the affidavit.” Green v. Murphy, 259 F.2d 591,

593 (3d Cir. 1958) (citation omitted). “It follows, therefore, that only questions of

law are presented by the respondent judge’s refusal to disqualify himself.” Id.




                                           49
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page66
                                                          66of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 65 of 78



      B. TSI’s affidavit and motion demonstrated bias requiring recusal.

      The affidavit accompanying TSI’s Motion to Recuse showed that TSI held

an objective, reasonable fear that the district court’s repeated, erroneous remarks

about the trial court case allegedly starting with “absolutely false documentation”

and a “fraudulent document,” were indicative of personal bias or prejudice against

TSI and/or a member, Ms. Mott, pursuant to 28 U.S.C. § 144; and a reasonable

observer would conclude that such suspicion and distrust of Ms. Mott led to biased

rulings; and the judge’s impartiality would reasonably be questioned due to such

apparent bias or prejudice under 28 U.S.C. § 455. (ECF 155-1.)

      A reasonable observer would conclude that the Judge’s remarks, point of

view, and skepticism of TSI and Ms. Mott emanated from a source outside the

scope of facts that a jurist would properly learn from the filings of the parties. The

judge acknowledged that he had listened to some unknown person describe a

purported accusation of alleged “fraud” (which the judge believed to have been

allegedly perpetrated by Ms. Mott) in “another case [in] another court.” (ECF 35 at

9:19-22.) The judge stated that an allegation of “fraud” had been “described to

[him]” by some unidentified source. (ECF 35 at 13:1-2.) Thus, TSI’s Affidavit

(ECF 155-1) averred that the district judge apparently heard allegations about Ms.

Mott or TSI from a source other than the parties’ filings in this case, and such

hearsay skewed his perception of their integrity. The prejudice directly led to


                                         50
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page67
                                                           67of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 66 of 78



unwarranted rulings (see ECF 155 and 155-1) and later led to the judge offering

inappropriate litigation tips to Plaintiffs (see ECF 260 at 12 n.1, 16).

      Further, even though the judge was required to take all averments as true and

simply determine the legal sufficiency of the affidavit (whether a reasonable

observer would view the remarks as indicative of bias), the judge tried to refute the

allegations at a status conference, seeking to justify his remarks about “fraud.”

(ECF 158 at 17-19.) A judge’s decision not to recuse should be subject to reversal

if he disputes the allegations in any way—even if, arguendo, the motion were

legally insufficient on its face. See, e.g., MacKenzie v. Super Kids Bargain Store,

Inc., 565 So. 2d 1332, 1339 (Fla. 1990) (persuasive authority); Rowe-Linn v.

Berman, 601 So. 2d 618 (Fla. 4th DCA 1992) (persuasive authority). “There can be

no dispute either in the district court or on appeal as to the truth or falsity of the

allegations of the affidavit.” Green, 259 F.2d at 593 (citation omitted).

      The order denying recusal (ECF 161) likewise inappropriately tried to recast

TSI’s concern about bias as being a mere dissatisfaction with rulings the judge had

made. Rather than taking the averments of TSI’s affidavit as true, the order tried to

refute the averments by asserting that TSI “misunderstood one of my comments.”

(ECF 161 at 2.) The order asserted that the judge was not actually biased. (ECF 161

at 1.) The order should have only analyzed whether, as a matter of law, a reasonable

person would fear bias, taking TSI’s averments as true.


                                          51
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page68
                                                          68of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 67 of 78



      The denial order asserted that the judge’s suspicions came from a footnote in

a 2018 filing of the Plaintiffs (ECF No. 23 at 2 n.2) rather than from any reading of

the inadmissible case cited in the footnote. (See ECF 161 at 2.) However, the order

did not explain why the judge deemed the Plaintiffs’ footnote to be a reference to

Ms. Mott when the footnote did not name her or mention the person’s gender. (See

ECF 35 at 13:1-4; ECF 158 at 18:1-6.)

      Even if (as the judge speculated at ECF 158 at 18:7-14) the “descri[ption]”

he heard might have possibly been from a law clerk mentioning the case cited in the

Plaintiffs’ footnote, it would have been improper for a law clerk to rely on that

inadmissible extrajudicial material or to describe the Plaintiffs’ skewed allegations

about it; and the judge still would have been relying on the Plaintiffs’ slanted

hearsay description about an inadmissible case in another court.

      The order denying recusal asserted that the judge “cited the [Aquate]

decision [mentioned in the Plaintiffs’ footnote]…. to impress on [TSI] that it must

comply with the discovery rules and must meet the other obligations attendant to

litigation” (ECF 161 at 2), but the judge expressed skepticism regarding the TSI’s

LLC membership resolution for Steve Acosta because of the court’s reliance on

Plaintiffs’ inaccurate, hearsay allegations in Plaintiffs’ footnote. A reasonable

observer would conclude that the judge had a personal bias.

      Although the judge asserted that he is not actually prejudiced, “justice must


                                         52
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page69
                                                          69of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 68 of 78



satisfy the appearance of justice.” Offutt v. United States, 348 U.S. 11, 14 (1954)

(emphasis added). The “appearance of impartiality is virtually as important as the

fact of impartiality.” Webbe v. McGhie Land Title Co., 549 F.2d 1358, 1361 (10th

Cir. 1977). And “the right to be tried before an unbiased judge is also basic in our

judicial system.” In re Union Leader Corp., 292 F.2d 381, 384 (1st Cir. 1961)

(emphasis added). Thus, this Court should reverse the “Order Denying the Motion

to Disqualify” (ECF 161) and all adverse rulings, including the Judgment.

                                 CONCLUSION

      This Court should reverse the Judgment and other orders discussed above

and direct that the case be dismissed for lack of jurisdiction. Alternatively, the

Court should remand to a different judge with directions to hold a new trial or,

more appropriately, to simply enter judgment in favor of TSI as a matter of law.

      WHEREFORE, Appellant, Team Systems International, LLC, respectfully

requests that this Honorable Court reverse the Judgment and the other orders

discussed above, and remand to the district court with directions to dismiss for lack

of jurisdiction; or alternatively, to hold a new trial with directions to deny

commissions on Nestlé water and FEMA’s retention of drop containers and to

credit TSI’s expenses that Appellees’ expert failed to credit as shown at ECF 299-2

and to deny prejudgment interest; or, more appropriately, to simply enter judgment

in favor of TSI on all counts as a matter of law.


                                         53
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page70
                                                          70of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 69 of 78



Dated: December 29, 2021                Respectfully submitted,

                                        /s/ Robin Bresky          .




                                        Robin I. Bresky, Esq.
                                        Fla. Bar No. 179329
                                        BRESKY LAW
                                        150 East Palmetto Park Road, Suite 340
                                        Boca Raton, FL 33432
                                        Telephone (561) 994-6273
                                        Facsimile: (561) 880-6900
                                        Service@Bresky-Law.com
                                        RBresky@Bresky-Law.com
                                        Counsel for Defendant-Appellant,
                                        Team Systems International, LLC


                     CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(a)(7)(B), (C), undersigned counsel certifies

that this brief complies with the Court’s type-volume limitation of 13,000 words.

Based upon the word-count function of Microsoft Word including the text,

footnotes, headings, and quotations using the formula stated in FRAP

32(a)(7)(B)(iii) and excluding the items excluded by FRAP 32(f), 11th Cir. R.

32-4, and 11th Cir. R. 28-1(a), (b), (c), (d), (e), (f), (g), (m) and (n) (and any

addendum containing statutes, rules, or regulations), the word count is 12,885. The

brief complies with the type-style requirements of FRAP 32(a)(6) as it uses

proportionally-spaced Times New Roman 14-point or larger font.
                                                       .




                                             /s/ Robin Bresky         .




                                             Robin I. Bresky, Esq.
                                                       .




                                        54
        Case
        Case22-10066-CTG
             22-10066-CTG Doc
                            Doc164-1
                               38-2 Filed
                                      Filed01/26/22
                                            04/28/22 Page
                                                     Page71
                                                          71of
                                                             of79
                                                                79
       USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 70 of 78



                         CERTIFICATE OF SERVICE

      The undersigned certifies that on this 29th day of December, 2021, a true

and correct copy of the foregoing has been filed with the Clerk of the Court using

its CM/ECF system. I also certify that the forgoing document is being served this

day on all counsel of record on the service list in the manner specified, either via

transmission of Notices of Electronic Filing generated by CM/ECF or in some

other authorized manner such as electronic mail for those counsel or parties who

are not authorized to receive electronically Notices of Electronic Filing:

   Leonard M. Collins, Esq. (via CM/ECF)
   GrayRobinson, P.A.
   301 South Bronough St., Ste. 600
   P.O. Box 11189 (32302-3189)
   Tallahassee, FL 32301
   Leonard.Collins@gray-robinson.com
   Attorney for Appellees

   M. Stephen Turner, Esq. (via CM/ECF)
   M. Stephen Turner, P.A.
   215 South Monroe Street, Suite 400
   Tallahassee, FL 32301
   mstephenturner.pa@gmail.com
   Attorney for Appellees

   Wayne LaRue Smith, Esq. (via CM/ECF)
   The Smith Law Firm
   509 Whitehead Street
   Key West, FL 33040
   wsmith@thesmithlawfirm.com
   court-filings@thesmithlawfirm.com
   Trial Co-counsel for Team Systems International, LLC



                                         55
    Case
    Case22-10066-CTG
         22-10066-CTG Doc
                        Doc164-1
                           38-2 Filed
                                  Filed01/26/22
                                        04/28/22 Page
                                                 Page72
                                                      72of
                                                         of79
                                                            79
   USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 71 of 78



Steven R. Kozlowski, Esq. (via e-mail or CM/ECF)
Kozlowski Law Firm P.A.
4300 Biscayne Boulevard, Suite 203
Miami, FL 33137
steven@klfpa.com
Trial Co-counsel for Team Systems International, LLC

Randall L. Leshin, Esq. (via CM/ECF)
Randall Leshin, P.A.
1975 East Sunrise Blvd., Suite 504
Ft. Lauderdale, FL 33304
rleshin@leshinlawfirm.com
email@leshinlawfirm.com
Trial Co-counsel for Team Systems Int’l, LLC
                                                .




                                       /s/ Robin Bresky        .




                                       Robin I. Bresky, Esq.




                                  56
       Case
       Case22-10066-CTG
            22-10066-CTG Doc
                           Doc164-1
                              38-2 Filed
                                     Filed01/26/22
                                           04/28/22 Page
                                                    Page73
                                                         73of
                                                            of79
                                                               79
      USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 72 of 78



           ADDENDUM OF STATUTES AND REGULATIONS


A. 28 U.S.C. § 144

     § 144. Bias or prejudice of judge

        Whenever a party to any proceeding in a district court makes and files a
     timely and sufficient affidavit that the judge before whom the matter is
     pending has a personal bias or prejudice either against him or in favor of any
     adverse party, such judge shall proceed no further therein, but another judge
     shall be assigned to hear such proceeding.
        The affidavit shall state the facts and the reasons for the belief that bias or
     prejudice exists, and shall be filed not less than ten days before the beginning
     of the term [session] at which the proceeding is to be heard, or good cause
     shall be shown for failure to file it within such time. A party may file only
     one such affidavit in any case. It shall be accompanied by a certificate of
     counsel of record stating that it is made in good faith.

                            ____________________


B. 28 U.S.C. § 455

     § 455. Disqualification of justice, judge, or magistrate [magistrate judge]
     (a) Any justice, judge, or magistrate [magistrate judge] of the United States
     shall disqualify himself in any proceeding in which his impartiality might
     reasonably be questioned.
     (b) He shall also disqualify himself in the following circumstances:
        (1) Where he has a personal bias or prejudice concerning a party, or
        personal knowledge of disputed evidentiary facts concerning the
        proceeding;
        (2) Where in private practice he served as lawyer in the matter in
        controversy, or a lawyer with whom he previously practiced law served
        during such association as a lawyer concerning the matter, or the judge or
        such lawyer has been a material witness concerning it;
        (3) Where he has served in governmental employment and in such


                                         57
  Case
  Case22-10066-CTG
       22-10066-CTG Doc
                      Doc164-1
                         38-2 Filed
                                Filed01/26/22
                                      04/28/22 Page
                                               Page74
                                                    74of
                                                       of79
                                                          79
 USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 73 of 78



   capacity participated as counsel, adviser or material witness concerning
   the proceeding or expressed an opinion concerning the merits of the
   particular case in controversy;
   (4) He knows that he, individually or as a fiduciary, or his spouse or
   minor child residing in his household, has a financial interest in the
   subject matter in controversy or in a party to the proceeding, or any other
   interest that could be substantially affected by the outcome of the
   proceeding;
   (5) He or his spouse, or a person within the third degree of relationship to
   either of them, or the spouse of such a person:
      (i) Is a party to the proceeding, or an officer, director, or trustee of a
      party;
      (ii) Is acting as a lawyer in the proceeding;
      (iii) Is known by the judge to have an interest that could be
      substantially affected by the outcome of the proceeding;
      (iv) Is to the judge’s knowledge likely to be a material witness in the
      proceeding.
(c) A judge should inform himself about his personal and fiduciary financial
interests, and make a reasonable effort to inform himself about the personal
financial interests of his spouse and minor children residing in his
household.
(d) For the purposes of this section the following words or phrases shall
have the meaning indicated:
   (1) “proceeding” includes pretrial, trial, appellate review, or other stages
   of litigation;
   (2) the degree of relationship is calculated according to the civil law
   system;
   (3) “fiduciary” includes such relationships as executor, administrator,
   trustee, and guardian;
   (4) “financial interest” means ownership of a legal or equitable interest,
   however small, or a relationship as director, adviser, or other active
   participant in the affairs of a party, except that:
      (i) Ownership in a mutual or common investment fund that holds


                                  58
  Case
  Case22-10066-CTG
       22-10066-CTG Doc
                      Doc164-1
                         38-2 Filed
                                Filed01/26/22
                                      04/28/22 Page
                                               Page75
                                                    75of
                                                       of79
                                                          79
 USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 74 of 78



      securities is not a “financial interest” in such securities unless the
      judge participates in the management of the fund;
      (ii) An office in an educational, religious, charitable, fraternal, or
      civic organization is not a “financial interest” in securities held by the
      organization;
      (iii) The proprietary interest of a policyholder in a mutual insurance
      company, of a depositor in a mutual savings association, or a similar
      proprietary interest, is a “financial interest” in the organization only if
      the outcome of the proceeding could substantially affect the value of
      the interest;
      (iv) Ownership of government securities is a “financial interest” in
      the issuer only if the outcome of the proceeding could substantially
      affect the value of the securities.
(e) No justice, judge, or magistrate [magistrate judge] shall accept from the
parties to the proceeding a waiver of any ground for disqualification
enumerated in subsection (b). Where the ground for disqualification arises
only under subsection (a), waiver may be accepted provided it is preceded by
a full disclosure on the record of the basis for disqualification.
(f) Notwithstanding the preceding provisions of this section, if any justice,
judge, magistrate [magistrate judge], or bankruptcy judge to whom a matter
has been assigned would be disqualified, after substantial judicial time has
been devoted to the matter, because of the appearance or discovery, after the
matter was assigned to him or her, that he or she individually or as a
fiduciary, or his or her spouse or minor child residing in his or her
household, has a financial interest in a party (other than an interest that could
be substantially affected by the outcome), disqualification is not required if
the justice, judge, magistrate [magistrate judge], bankruptcy judge, spouse or
minor child, as the case may be, divests himself or herself of the interest that
provides the grounds for the disqualification.
faith.


                       ____________________




                                   59
       Case
       Case22-10066-CTG
            22-10066-CTG Doc
                           Doc164-1
                              38-2 Filed
                                     Filed01/26/22
                                           04/28/22 Page
                                                    Page76
                                                         76of
                                                            of79
                                                               79
      USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 75 of 78



C. 41 U.S.C. § 3901

     § 3901. Contracts awarded using procedures other than sealed-bid
     procedures
     (a) Authorized types. Except as provided in section 3905 of this title [41
     USCS § 3905], contracts awarded after using procedures other than
     sealed-bid procedures may be of any type which in the opinion of the agency
     head will promote the best interests of the Federal Government.
     (b) Required warranty.
        (1) Content. Every contract awarded after using procedures other than
        sealed-bid procedures shall contain a suitable warranty, as determined by
        the agency head, by the contractor that no person or selling agency has
        been employed or retained to solicit or secure the contract on an
        agreement or understanding for a commission, percentage, brokerage, or
        contingent fee, except for bona fide employees or bona fide established
        commercial or selling agencies the contractor maintains to secure
        business.
        (2) Remedy for breach or violation. For the breach or violation of the
        warranty, the Federal Government may annul the contract without
        liability or deduct from the contract price or consideration the full amount
        of the commission, percentage, brokerage, or contingent fee.
        (3) Nonapplication. Paragraph (1) does not apply to a contract for an
        amount that is not greater than the simplified acquisition threshold or to
        a contract for the acquisition of commercial products or commercial
        services.




                           ____________________




                                       60
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page77
                                                           77of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 76 of 78




D. Fed. Acquisition Reg. 4.1001

       4.1001 Policy

       In order to improve the accuracy, traceability, and usability of procurement
       data, procurement instruments shall identify the supplies or services to be
       acquired as separately identified line items and, as needed, subline items.
          (a) Line items are established to define deliverables or organize
          information about deliverables. Each line item describes characteristics
          for the item purchased, e.g., pricing, delivery, and funding information.
          (b) Each line item may be subdivided into separate unique subsets (called
          subline items) to ease administration. If a line item has deliverable
          subline items, the line item is informational. Subline items differentiate
          between or among certain characteristics of the line item, such as colors
          or sizes, dates of delivery, destinations, or places of performance. Subline
          items are established to define deliverables or organize information about
          deliverables.

(https://www.acquisition.gov/far/4.1001)

                                ____________________


E. Fed. Acquisition Reg. 4.1003

       4.1003 Establishing line items

       Establish separate line items for deliverables that have the following
       characteristics except as provided at 4.1005-2:
       (a) Separately identifiable.
          (1) A supply is separately identifiable if it has its own identification (e.g.,
          national stock number (NSN), item description, manufacturer's part
          number).
          (2) Services are separately identifiable if they have no more than one
          statement of work or performance work statement.



                                           61
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page78
                                                           78of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 77 of 78



          (3) If the procurement instrument involves a first article (see subpart 9.3),
          establish a separate line item for each item requiring a separate approval.
          If the first article consists of a lot composed of a mixture of items that will
          be approved as a single lot, a single line item may be used.
       (b) Single unit price or total price.
       (c) Single accounting classification citation. A single deliverable may be
       funded by multiple accounting classifications when the deliverable effort
       cannot be otherwise subdivided.
       (d) Separate delivery schedule, destination, period of performance, or place
       of performance.
       (e) Single contract pricing type (e.g., fixed-price or cost-reimbursement).
(https://www.acquisition.gov/far/4.1003)


                                ____________________


F. Fed. Acquisition Reg. 52.203-5

       52.203-5 Covenant Against Contingent Fees.
       As prescribed in 3.404, insert the following clause:
          Covenant Against Contingent Fees (May 2014)
              (a) The Contractor warrants that no person or agency has been
          employed or retained to solicit or obtain this contract upon an
          agreement or understanding for a contingent fee, except a bona fide
          employee or agency. For breach or violation of this warranty, the
          Government shall have the right to annul this contract without
          liability or, to deduct from the contract price or consideration, or
          otherwise recover, the full amount of the contingent fee.
              (b) “Bona fide agency,” as used in this clause, means an
          established commercial or selling agency, maintained by a
          contractor for the purpose of securing business, that neither exerts
          nor proposes to exert improper influence to solicit or obtain
          Government contracts nor holds itself out as being able to obtain
          any Government contract or contracts through improper influence.


                                           62
         Case
         Case22-10066-CTG
              22-10066-CTG Doc
                             Doc164-1
                                38-2 Filed
                                       Filed01/26/22
                                             04/28/22 Page
                                                      Page79
                                                           79of
                                                              of79
                                                                 79
        USCA11 Case: 21-13662 Date Filed: 12/29/2021 Page: 78 of 78



              Bona fide employee, as used in this clause, means a person,
          employed by a contractor and subject to the contractor’s
          supervision and control as to time, place, and manner of
          performance, who neither exerts nor proposes to exert improper
          influence to solicit or obtain Government contracts nor holds out as
          being able to obtain any Government contract or contracts through
          improper influence.
             Contingent fee, as used in this clause, means any commission,
          percentage, brokerage, or other fee that is contingent upon the
          success that a person or concern has in securing a Government
          contract.
              Improper influence, as used in this clause, means any influence
          that induces or tends to induce a Government employee or officer
          to give consideration or to act regarding a Government contract on
          any basis other than the merits of the matter.
                                      (End of clause)
(https://www.acquisition.gov/far/52.203-5)              .
                                                        .
                                                        .




                                             63
